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                            Exhibit A
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



                                                        CASE NO. 8:19-CV-00421-WFJ-CPT
    JULIAN KEIPPEL, Individually and On
    Behalf of All Others Similarly Situated,
                         Plaintiff,
                                                        CLASS ACTION
    v.
    HEALTH INSURANCE INNOVATIONS,
    INC. n/k/a BENEFYTT TECHNOLOGIES,                   JURY TRIAL DEMANDED
    INC., GAVIN SOUTHWELL, and
    MICHAEL D. HERSHBERGER,


                         Defendants.




                     EXPERT REPORT OF CHAD COFFMAN, CFA




                                         May 21, 2020
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 I.       INTRODUCTION

            1.    I, Chad Coffman, am the President of Global Economics Group, a Chicago-based

 firm that specializes in the application of economics, finance, statistics, and valuation principles

 to questions that arise in a variety of contexts, including, as here, in the context of securities

 litigation. I have been asked by counsel for Lead Plaintiffs Oklahoma Municipal Retirement

 Fund and City of Birmingham Retirement and Relief System in this action to examine and opine

 on whether the market for Health Insurance Innovations, Inc. (“HIIQ” or the “Company”) Class

 A common stock (“HIIQ Common Stock”) was efficient during the period from September 25,

 2017 through April 11, 2019, inclusive (the “Class Period”).1 In addition, I have been asked to

 opine on whether calculating damages in this action is subject to a common methodology under

 Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) and SEC Rule 10b-5

 adopted thereunder (collectively “Section 10(b)”).

            2.    The materials I have considered in forming my opinions are summarized in

 Appendix A. Global Economics Group is being compensated at an hourly rate of $800 per hour

 for my work on this matter, and at rates between $190 and $425 for members of my staff who

 performed work in connection with this report under my direction and supervision. My

 compensation is in no way contingent on the outcome of this case. My qualifications are

 described below.

 II.      QUALIFICATIONS

            3.    I hold a Bachelor’s Degree in Economics with Honors from Knox College and a

 Master’s of Public Policy from the University of Chicago. I am also a CFA charter-holder. The

 CFA, or Chartered Financial Analyst, designation is awarded to those who have sufficient


 1
     Consolidated Class Action Complaint filed July 19, 2019, Case No. 8:19-cv-00421-WFJ-CPT, (“Complaint”) p. 1.


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 practical experience and complete a rigorous series of three examinations over three years that

 cover a wide variety of financial topics including financial statement analysis and valuation.

           4.    I, along with several others, founded Global Economics Group on March 25, 2008.2

 Prior to starting Global Economics Group, I was employed by Chicago Partners LLC for over

 twelve years where I was responsible for conducting and managing analysis in a wide variety of

 areas including securities valuation and damages, labor discrimination, and antitrust. I have been

 engaged numerous times as a valuation expert both within and outside the litigation context. My

 experience in class action securities cases includes work for plaintiffs, defendants, D&O

 insurers, and a prominent mediator (Retired Judge Daniel Weinstein) to provide economic

 analysis and opinions in dozens of securities class actions as well as other matters. As a result of

 my involvement in these cases, much of my career has been spent analyzing and making

 inferences about how quickly and reliably, and to what degree, new information impacts

 securities prices.

           5.    My qualifications are further detailed in my curriculum vitae, which is attached as

 Appendix B.

 III. SUMMARY OF OPINIONS

           6.    After analyzing HIIQ’s Common Stock during the Class Period and giving careful

 consideration to the efficiency factors described in detail throughout this report, I have formed

 the opinion that the market for HIIQ’s Common Stock was efficient during the Class Period.

           7.    I have also formed the opinion that damages in this action can be calculated on a

 class-wide basis using a common methodology. These opinions are based upon my analysis

 described below.


 2
     Prior to March 16, 2011, Global Economics Group was known as Winnemac Consulting, LLC.


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            8.    The remainder of this report is organized as follows: Section IV of this report

 provides an overview of HIIQ’s business operations and the allegations in this case. Section V

 discusses the reliance requirement for the claims under Section 10(b) of the Exchange Act and

 the “fraud on the market” theory. Section VI introduces the so-called Cammer factors and other

 factors that financial economists and courts, including in this Circuit, apply when evaluating

 market efficiency under the “fraud on the market” theory. Section VII provides the results of my

 empirical evaluation of each Cammer factor and other factors for HIIQ Common Stock during

 the Class Period. Section VIII addresses how damages in this action are subject to a common

 approach and methodology that can be applied class-wide. Finally, Section IX offers my

 conclusions.

            9.    I reserve the right to amend this report, including to reflect new information that

 becomes available to me in light of the discovery process and/or future rulings from the Court.

 IV.        OVERVIEW OF THE COMPANY AND ALLEGATIONS

            10.   HIIQ is incorporated in the state of Delaware and headquartered in Tampa, Florida.3

 HIIQ described its business during the Class Period as follows:

                     We are a cloud-based technology platform and distributor of affordable individual
                     and family health insurance plans (“IFP”) which include short-term medical
                     (“STM”) insurance plans, and guaranteed-issue and underwritten health benefit
                     insurance plans ("HBIP"), previously referred to as hospital indemnity plans.
                     Through our technology platform, we also offer supplemental products which
                     include a variety of additional insurance and non-insurance products that are
                     frequently purchased as supplements to IFPs. We work in concert with carriers to
                     help them develop products for our target markets. We are not an insurer and do
                     not process or pay claims. The health insurance products we help develop are
                     underwritten by third-party insurance carriers with whom we have no affiliation
                     apart from our contractual relationships. We assume no underwriting, insurance or
                     reimbursement risk.4


 3
     Health Insurance Innovations, Inc. SEC Form 10-K for the fiscal year ended December 31, 2017, p. 1.
 4
     Health Insurance Innovations, Inc. SEC Form 10-K for the fiscal year ended December 31, 2017, p. 4.


                                                       5
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            11.   For the fiscal year ended December 31, 2018, HIIQ reported revenue of $351

 million, a net income of $13 million, and listed total assets of $432 million.5 As of December 31,

 2018, HIIQ employed 222 employees,6 and its Common Stock traded on the NASDAQ under the

 ticker “HIIQ.”7 On March 6, 2020, HIIQ announced that it had been renamed Benefytt

 Technologies, and would continue trading under the ticker “BFYT.”8

            12.   The Complaint alleges that HIIQ and the Individual Defendants as defined in the

 Complaint,9 made false or misleading statements during the Class Period, ultimately causing

 damages to purchasers of HIIQ Common Stock who unknowingly bought Common Stock at

 artificially inflated prices and suffered economic loss when the stock price ultimately reflected

 the concealed information.10

            13.   More specifically, the Complaint alleges that throughout the Class Period, HIIQ

 falsely claimed to investors that they were adhering to strict compliance standards and had an

 “incredibly low” rate of consumer complaints. Defendants went as far as to claim that “0.00%”

 of customer complaints on HIIQ policies were upheld by the Department of Insurance, and that

 their compliance was so strong that it was a “significant barrier of entry” to potential

 competitors.11 However, enforcement action by the FTC revealed that HIIQ’s most lucrative call



 5
     Health Insurance Innovations, Inc. SEC Form 10-K for the fiscal year ended December 31, 2018, pp. 31-32.
 6
     Health Insurance Innovations, Inc. SEC Form 10-K for the fiscal year ended December 31, 2018, p. 12.
 7
     Health Insurance Innovations, Inc. SEC Form 10-K for the fiscal year ended December 31, 2018, p. 29.
 8
  “Health Insurance Innovations, Inc. Has Been Officially Renamed Benefytt Technologies, Inc.,” Globe Newswire,
 March 6, 2020.
 9
     Complaint ¶¶ 13-16.
 10
      Complaint ¶¶ 9-10.
 11
      Complaint ¶¶ 2-3.




                                                       6
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 center, called “Simple Health,” was a bait-and-switch scam. Consumers were led to believe that

 they were purchasing Preferred Provider Organization policies that were compliant with the

 Affordable Care Act, but they were actually being sold limited benefit indemnity plans that were

 not compliant with the Affordable Care Act. Therefore, the FTC deemed Simple Health “was

 never legally viable and cannot be viable in the future” because “deception permeated the …

 entire business relationship with the[] customers.” Simple Health was responsible for as much as

 50% of the revenue for HIIQ.12 The Complaint alleges that through a series of partial disclosures,

 the market finally learned the truth about HIIQ’s compliance failures and its reliance on

 customer deception and Simple Health, and the price of HIIQ Common Stock fell, harming

 investors who bought at inflated prices.13

 V.       DISCUSSION OF RELIANCE ELEMENT

            14.   Class members’ reliance on the alleged misstatements and material omissions is a

 required element for Lead Plaintiffs’ Section 10(b) claims. Lead Plaintiffs assert the fraud on the

 market theory of reliance in this action.14 The fraud on the market theory is based on the fact that

 in an efficient market (one in which widely-available public information is quickly incorporated

 into the market price of a security), all purchasers implicitly rely on any material

 misrepresentations or omissions since the value of those misrepresentations or omissions is

 incorporated into each class member’s purchase price. The “fraud on the market” theory was first

 addressed by the U.S. Supreme Court in Basic Inc. v. Levinson:

                      … [I]n an open and developed securities market, the price of a company's
                      stock is determined by the available material information regarding the

 12
      Complaint ¶4.
 13
      Complaint ¶¶ 9-10.
 14
      Complaint ¶¶ 237-239.




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                    company and its business…Misleading statements will therefore defraud
                    purchasers of stock even if the purchasers do not directly rely on the
                    misstatements…The causal connection between the defendants’ fraud and the
                    plaintiffs’ purchase of stock in such a case is no less significant than in a case
                    of direct reliance on misrepresentations.15

            15.    The Supreme Court reaffirmed this theory in Halliburton II:

                    More than 25 years ago, we held that plaintiffs could satisfy the reliance element
                    of the Rule 10b-5 cause of action by invoking a presumption that a public, material
                    misrepresentation will distort the price of stock traded in an efficient market, and
                    that anyone who purchases the stock at the market price may be considered to have
                    done so in reliance on the misrepresentation. We adhere to that decision and
                    decline to modify the prerequisites for invoking the presumption of reliance.16


            16.    As stated in Basic and reaffirmed in Halliburton II, in an open, developed and

 efficient market, market prices reflect what is publicly known about a company. If a company

 provides the market with misleading information regarding its financial strength or business

 practices, the market price will be inflated (or deflated) compared to what the price would have

 been if the truth were known (but-for misleading information). Thus, in an efficient market,

 where the plaintiff asserts there were material misrepresentations or omissions, all purchasers

 implicitly relied on those misrepresentations and/or lack of disclosure by paying the inflated (or

 deflated) price.

            17.    It is an empirical exercise to determine whether the market for a security was “open

 and developed” or “efficient” to the degree required for a presumption of reliance under the

 “fraud on the market” theory.17 The esteemed economist Dr. Eugene Fama, in his seminal



 15
      Basic Inc. v. Levinson, 485 U.S. 224, 241-42 (1988) (“Basic”).
 16
      Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2418 (2014) (“Halliburton II”).
 17
   To recognize the presumption of reliance, the Basic Court explained, was not “conclusively to adopt any
 particular theory of how quickly and completely publicly available information is reflected in market price.” Basic,
 485 U.S. at 248 n.28. The Basic Court instead based the presumption on the fairly modest premise that “market
 professionals generally consider most publicly announced material statements about companies, thereby affecting



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  research, first outlined definitions of an “efficient market.”18 He described different levels of

  efficiency which he called “weak-form,” “semi-strong-form,” and “strong-form” efficiency.19

             18.    The market efficiency standard adopted by Basic and reaffirmed by Halliburton II

  as necessary for the presumption of reliance conforms most closely with Dr. Fama’s “semi-

  strong form” efficiency. “Semi-strong form” efficiency implies that all publicly available

  information is reflected in a security’s current market price. This implies that security prices

  adjust to new publicly available information rapidly and in an unbiased fashion so that it is

  impossible to earn excess returns by trading on that information. Basic stated: “In an open and

  developed securities market, the price of a company’s stock is determined by the available

  material information regarding the company and its business.”20 The Supreme Court’s effective

  adoption of the “semi-strong form” efficiency standard is economically sensible because it

  recognizes that insiders often possess non-public information and that securities prices do not

  necessarily reflect this non-public information, but that to presume reliance, the market price

  must reflect publicly available information.

             19.    In the next section, I explain the factors that are regularly considered by financial

  economists and courts in determining whether the market for a particular security is efficient.


  stock market prices.” Basic, 485 U.S. at 246 n.24. Basic’s presumption of reliance thus does not rest on a “binary”
  view of market efficiency, but rather, market efficiency is a matter of degree.
  18
       Eugene F. Fama, Efficient Capital Markets: A Review of Theory and Empirical Work, 25 J. FIN. 383 (1970).
  19
    “Weak-form” efficiency requires that historical prices are not predictive of future prices. Under this form of
  efficiency, excess returns cannot be earned using strategies based on historical prices. Therefore, technical analysis
  will not produce consistent excess returns over time. “Semi-strong form” efficiency implies that all public
  information is reflected in a stock's current market price. Security prices adjust to new publicly available
  information rapidly and in an unbiased fashion so that it is impossible to earn excess returns by trading on that
  information. Under this form of efficiency, neither fundamental nor technical analysis can produce consistent excess
  returns. “Strong-form” efficiency implies all information in the market, whether public or private, is accounted for in
  the market price. In this market, investors cannot consistently earn excess returns over a long period of time even if
  they have inside information.
  20
       Basic, 485 U.S. at 241.




                                                        9
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  VI. CAMMER FACTORS

             20.   In Cammer v. Bloom, the court identified the following factors as relevant to the

  determination of whether an efficient market exists for a given security: 1) average weekly

  trading volume, 2) analyst coverage, 3) market makers, 4) SEC Form S-3 eligibility, and 5) price

  reaction to unexpected information.21

             21.   The Cammer decision relied on Bromberg & Lowenfels’ definition of efficiency.

  As articulated below, the adopted definition of efficiency is consistent with Fama’s definition of

  “semi-strong” efficiency. For the purposes of this exercise, I adopt Bromberg & Lowenfels’

  definitions for the terms “open,” “developed,” and “efficient” as described below:

                    An open market is one in which anyone, or at least a large number of
                    persons, can buy or sell.

                    A developed market is one which has a relatively high level of activity and
                    frequency, and for which trading information (e.g., price and volume) is
                    widely available. It is principally a secondary market in outstanding
                    securities. It usually, but not necessarily, has continuity and liquidity (the
                    ability to absorb a reasonable amount of trading with relatively small price
                    changes).

                    An efficient market is one which rapidly reflects new information in price.

                    These terms are cumulative in the sense that a developed market will almost
                    always be an open one. And an efficient market will almost invariably be a
                    developed one.22

             22.   While there is a well-accepted economic theory of market efficiency, there are no

  broadly accepted bright-line empirical tests that allow one to classify a particular market as

  “efficient” or “inefficient.” In my view, the Cammer decision identified important metrics to

  consider when evaluating efficiency for purposes of the “fraud on the market” theory. I also



  21
       Cammer, v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) (“Cammer”).
  22
    Cammer, 711 F. Supp. at 1276 n.17 (citing Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud,
  § 8.6 (Aug. 1988) (“Bromberg & Lowenfels”)) (emphasis added).


                                                     10
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  consider a number of other factors that courts have utilized beyond the Cammer factors.

  However, since there are no bright-line tests for efficiency, it is important to consider the

  identified efficiency factors as a whole because none of the individual tests or metrics is

  determinative as to whether a particular market is efficient.

         23.   In the subsequent sections, I evaluate the market for HIIQ Common Stock during

  the Class Period under each of the Cammer factors, as well as the following additional factors

  that courts have also considered in assessing market efficiency: 1) market capitalization, 2) bid-

  ask spread, 3) the percentage of shares not held by insiders (the float), 4) the fraction of shares

  held by institutional investors, 5) autocorrelation (meaning whether there is a pattern in a

  security’s returns so that future returns can be predicted based upon past returns), and 6) options

  trading.

  VII. APPLICATION OF EFFICIENCY FACTORS TO HIIQ COMMON STOCK

     A. OVERVIEW

         24.   After giving careful consideration to each of the efficiency factors described in

  detail below, I find that each factor supports the conclusion that the market for HIIQ Common

  Stock was efficient throughout the Class Period. In addition to the discussion below, Exhibit 1

  summarizes how, for each of the factors examined, the empirical evidence supports a finding that

  HIIQ Common Stock traded in an efficient market. As further background to my analyses,

  Exhibit 2 displays HIIQ Common Stock’s closing price and trading volume for each day of the

  Class Period.

         25.   In summary, and as discussed more fully below, HIIQ Common Stock traded in an

  efficient market during the Class Period. First, the average weekly trading volume of HIIQ

  Common Stock during the Class Period far exceeded benchmarks that courts have established.



                                                11
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  During the Class Period, the average weekly trading volume for HIIQ Common Stock was 3.41

  million shares, which represents 26.66% of shares outstanding, higher than the average security

  traded on the New York Stock Exchange (“NYSE”) and/or the NASDAQ Exchange. Second,

  there were numerous securities analysts following and reporting on HIIQ. Third, HIIQ Common

  Stock was actively traded on the NASDAQ, fulfilling the Cammer factor regarding market

  makers. Fourth, HIIQ met the important eligibility criteria and was apparently eligible to file a

  Form S-3 throughout the Class Period since the Company had previously provided substantial

  public information to the market in its previous SEC filings. Fifth, there was a strong cause-and-

  effect relationship between new Company-specific information and the market price of HIIQ

  Common Stock during the Class Period as well as a broader time period (the “Analysis

  Period”).23 Sixth, HIIQ Common Stock had a market capitalization generally consistent with

  other firms that traded on the NYSE and NASDAQ. Seventh, HIIQ Common Stock had a low

  bid-ask spread relative to other exchange-traded common stocks. Eighth, insiders held on

  average only roughly 7.8% of the shares outstanding while institutions, which are considered

  generally to be well-informed investors, held virtually all of the public float of HIIQ Common

  Stock during the quarters of interest. Ninth, with regard to autocorrelation, the coefficient is not

  statistically different than zero, meaning there is no evidence of autocorrelation in the trading of

  HIIQ Common Stock during the Class Period. Finally, there was active trading in HIIQ options




  23
     The Analysis Period is from September 26, 2016 through March 6, 2020. For certain elements of my report, I
  analyzed the broader time period of the Analysis Period to enhance the power of my statistical tests. By analyzing
  and applying the methodologies described herein to the longer period, of which the Class Period is a subset, I
  conclude that the evidence supports efficiency during the Class Period. The Analysis Period was selected to capture
  one full calendar year before and four quarters of additional earnings after the Class Period. In this case, this resulted
  in a total of 16 earnings to evaluate and analyze (opposed to what would have just been 7 during the Class Period
  itself).


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  throughout the Class Period. My analyses of all these factors support the conclusion that HIIQ

  Common Stock traded in an open, developed, and efficient market throughout the Class Period.

         B. CAMMER FACTOR 1: AVERAGE WEEKLY TRADING VOLUME

             26.   The first Cammer Factor is the average weekly trading volume of a security.

  According to one authority cited by the Cammer court,

                    Turnover measured by average weekly trading of 2% or more of the
                    outstanding shares would justify a strong presumption that the market for the
                    security is an efficient one; 1% would justify a substantial presumption.24

             27.   Volume as a fraction of shares outstanding is an important indicator of market

  efficiency for several reasons. First, volume is objectively quantifiable and comparable across

  securities. Second, high volume is generally indicative of continuity, liquidity, and market depth

  – which are highly indicative of market efficiency.25 Third, substantial volume would indicate

  there is likely a market for the collection and distribution of information about the security. As

  Professors Thomas and Cotter explain, “[t]rading volume was also considered as an eligibility

  standard because it affects information dissemination to the market and was an important

  criterion for investment analysts in deciding which stocks to follow.”26




  24
       Cammer, 711 F. Supp. at 1293 (citing Bromberg & Lowenfels).
  25
    Continuity means that trades may occur at any time. Liquidity in this context means that investors can convert
  cash into shares or shares into cash at a price similar to that of the prior trade (assuming no new information).
  William Sharpe, Gordon J. Alexander & Jeffrey W. Bailey, Investments, Prentice Hall, 44-45 (5th ed. 1995).
  Bromberg and Lowenfels define a market that has continuity and liquidity as “the ability to absorb a reasonable
  amount of trading with relatively small price changes.” Cammer, 1276 n.17 (citing Bromberg & Lowenfels).
  Market depth refers to “the number of shares that [can] be traded at the quoted bid and ask prices.” A deep market
  will have significant orders on the buy and sell side so that the market can experience a relatively large market order
  without greatly altering the market price. See Amihud, Y., et al., Liquidity and Asset Prices, 1 FOUND. & TRENDS
  FIN. 269 (2005), 317.
  26
    Randall S. Thomas & James F. Cotter, Measuring Securities Market Efficiency in the Regulatory Setting. 63 LAW
  & CONTEMP. PROBS. 105, 108 (2000). Randall S. Thomas is a Director of the Law and Business Program at
  Vanderbilt University. Dr. James Cotter is an Associate Professor of Finance at Wake Forest University.




                                                       13
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             28.    HIIQ Common Stock easily surpasses the threshold level of average weekly trading

  volume necessary for an efficient market. The average weekly trading volume for HIIQ Common

  Stock during the Class Period was 26.66% of shares outstanding, compared to 1.94% for the

  average weekly trading volume on both the NYSE and NASDAQ exchanges. Based on this

  figure, the weekly trading volume for HIIQ Common Stock far exceeds the 1% or 2% threshold

  cited by Cammer. Exhibit 3 plots HIIQ Common Stock’s trading volume as a fraction of shares

  outstanding for each week during the Class Period.27 Indeed, the average weekly trading volume

  for HIIQ Common Stock during the Class Period was 3.41 million shares. This volume of

  trading supports the conclusion that the market for this security was efficient throughout the

  Class Period.

             29.    Another way to measure trading volume is annualized turnover velocity, which is

  essentially the first Cammer factor expressed in dollar terms.28 To be more specific, instead of

  looking at shares traded divided by shares outstanding, turnover velocity is the dollar value of

  shares traded (i.e., shares traded multiplied by price per share) divided by the dollar value of all

  shares outstanding (i.e., shares outstanding multiplied by price per share). This is the same ratio

  because the numerator and denominator are multiplied by price per share. The advantage of this

  measure is that once quoted in annualized terms, HIIQ Common Stock’s turnover velocity can be

  compared directly with other publicly traded stocks based on exchange-reported statistics. For

  example, over the Class Period, the annualized turnover velocity ratio for HIIQ Common Stock




  27
    For the purposes of this analysis, a “trading week” consists of 5 consecutive trading days, which may not follow
  the calendar week.
  28
       Turnover velocity as a formula is:
  Turnover Velocity Ratio = (Volume x Price)/(Shares Outstanding x Price) = Dollars Traded/Dollars Outstanding.




                                                      14
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  was 1333% compared with the NYSE and NASDAQ average of 101% for the Class Period.29

  Thus, HIIQ Common Stock had an average annualized turnover that was substantially higher

  than the average stock trading on the NYSE and NASDAQ, further supporting that it traded in an

  efficient market.

             30.    In short, the relatively high trading volume in HIIQ Common Stock throughout the

  Class Period supports the conclusion that the market for HIIQ Common Stock was efficient.

         C. CAMMER FACTOR 2: ANALYST COVERAGE

             31.    The Cammer decision stated the following related to analyst coverage:

                     … [I]t would be persuasive to allege a significant number of securities
                     analysts followed and reported on a company’s stock during the class period.
                     The existence of such analysts would imply, for example, the [analyst]
                     reports were closely reviewed by investment professionals, who would in
                     turn make buy/sell recommendations to client investors.30

             32.    Analyst coverage can be important evidence of efficiency. Significant analyst

  coverage implies that there is sufficient interest in a company and its securities, that there is an

  active market for information regarding the company and its securities, and that the information

  is widely distributed.

             33.    During the Class Period, there was consistent analyst coverage for HIIQ.

  Defendants admit that investment and securities firms issued more than 200 reports on HIIQ

  during the Class Period.31 Based on my collection of analyst reports from Investext, which is a

  subset of all total available analyst reports, I find 173 reports were issued during the Class

  Period, as summarized in Exhibit 4. Exhibit 4 lists 14 separate firms that had equity analysts


  29
    Turnover velocity for the NYSE and NASDAQ is calculated from data provided by the World Federation of
  Exchanges. See https://www.world-exchanges.org/home/index.php/statistics/monthly-reports.
  30
       Cammer, 711 F. Supp. at 1286.
  31
       See Defendants’ Responses and Objections to Lead Plaintiffs’ First Set of Requests for Admissions, at 8.




                                                         15
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  issue reports on HIIQ.32 These reports served the purpose of disseminating publicly available

  information along with commentary, news, updates, analyses, and recommendations of the

  analysts to investors. The extensive coverage of HIIQ by securities analysts supports the

  conclusion that HIIQ Common Stock traded in an efficient market throughout the Class Period.

           34.    Since 1989, when the Cammer decision was issued, there has been a significant

  increase in alternative methods by which publicly available information about publicly-traded

  securities is disseminated to investors. For example, since the Cammer decision, through the

  Internet, 24-hour cable news networks, email, RSS feeds,33 and other media, the ability of

  individual and institutional investors to obtain information about publicly-traded securities and

  the market in general has revolutionized the manner in which investors and investment

  professionals receive and process information.

           35.    Moreover, information regarding the market price, the current bid-ask spread, and

  the ability to trade online is available almost instantaneously via the Internet for anyone with an

  online brokerage account. Thus, in addition to the substantial analyst coverage of HIIQ, there




  32
    I obtained HIIQ analyst reports from Investext which is a part of Thomson Reuters. Investext is a database that
  collects and disseminates analyst reports issued by investment banks and independent research firms. The number
  of analyst reports I identify is likely understated because many analyst reports are not available through third party
  data providers such as Investext. For example, it is clear that analysts from First Analysis Securities Corporation and
  B. Riley FBR participated on earnings conference calls during the Class Period, but I did not have access to research
  reports of those firms through Investext in connection with preparing this report. (See, “FQ4 2017 Earnings Call
  Transcripts,” S&P Capital IQ, March 1, 2018). Additionally, there are a variety of internet-based subscriptions
  where investors can find other types of reports. For instance, on the subscription-based website Seeking Alpha, there
  were five articles or reports for HIIQ under its “Analysis” section during the Class Period, and six during the
  broader Analysis Period.
  33
    RSS is an acronym for Really Simple Syndication or Rich Site Summary. RSS files are formed as XML files and
  are designed to provide content summaries of news, blogs, forums or website content. The RSS feeds are generally
  simple headlines and brief descriptions; if the user is interested, the user can click to see additional information.
  Content viewed in the RSS reader or news aggregator is known as an RSS feed. RSS is becoming increasingly
  popular since it is a free and easy way to promote a site and its content without the need to advertise or create
  complicated content sharing partnerships (see http://www.rss-specifications.com/, and http://www.rss-
  specifications.com/what-is-rss.htm).




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  were many other sources of public information dissemination. For example, there was substantial

  public press regarding HIIQ. A search for articles classified as related to HIIQ by Factiva over

  the Class Period resulted in 738 unique articles (and 1,593 articles over the Analysis Period).34 In

  addition, there were numerous SEC filings available online at the SEC EDGAR search database

  at no cost, as well as various other sources of public information available throughout the

  Analysis Period that I do not attempt to quantify. The degree of news coverage and publicly

  available information further supports the conclusion that there was substantial supply of, and

  demand for, information regarding HIIQ in the public arena throughout the Analysis Period, and

  thus the Class Period.

             36.   In summary, the number of analyst reports and the substantial public dissemination

  of news and other information regarding HIIQ provides evidence of a robust and active market

  for public information about the Company and evidence that HIIQ’s Common Stock traded in an

  efficient market during the Class Period.

         D. CAMMER FACTOR 3: MARKET MAKERS

             37.   A market maker is a firm that is ready to buy or sell a particular stock on a regular

  and continuous basis.35 The third Cammer factor states:

                    For over the counter markets without volume reporting, the number of
                    market makers is probably the best single criterion. Ten market makers for a
                    security would justify a substantial presumption that the market for the

  34
    Factiva is a business information and research tool owned by Dow Jones & Company. Factiva aggregates content
  from both licensed and free sources, and provides organizations with search, alerting, dissemination, and other
  information management capabilities. The 738 unique articles for the Class Period (September 25, 2017 – April 11,
  2019) were identified as a result of a search for “All Sources” with the company field “Benefytt Technologies Inc.”
  or keyword field “Health Insurance Innovations”. HIIQ changed its name to Benefytt Technologies on March 6,
  2020. The 1,593 unique articles for the Analysis Period (September 26, 2016 – March 6, 2020) were identified using
  the same search criteria. Duplicate articles have been removed by a proprietary function accessible in Factiva’s
  search builder. I acknowledge that this may not reflect all news as the Factiva database is limited to certain sources
  and content type.
  35
       See http://www.sec.gov/answers/mktmaker.htm.




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                    security is an efficient one; five market makers would justify a more modest
                    presumption.36

             38.   The premise that the number of market makers can serve as an efficiency criterion

  relates to the notion that market makers are:

                    … [P]resumably knowledgeable about the issuing company and the stocks’
                    supply and demand conditions (i.e., the “order flow”). Therefore, it is
                    believed the larger the number of market makers in a given security, the more
                    information is available about it and the quicker its dissemination in the
                    price.37

             39.   HIIQ Common Stock traded on a major exchange (i.e., the NASDAQ) with

  continuous public price and volume reporting, as opposed to an over-the-counter market without

  volume reporting, which is the context in which Cammer indicated this was a relevant criterion.38

  On such over-the-counter markets, there may be reason for concern regarding liquidity and

  information dissemination. However, these concerns are generally not applicable to stocks

  trading on large, modern exchanges such as the NYSE and NASDAQ, which are presumed to be

  efficient, report volume and trade details, and tend to have rules that virtually guarantee a liquid

  market.39

             40.   The NYSE and NASDAQ are two of the largest and most liquid security exchanges

  in the world with billions of shares traded each day. Unlike over-the-counter markets that rely on



  36
       Cammer, 711 F. Supp. at 1293.
  37
    Barber, B., et al., The Fraud-on-the-Market Theory and the Indicators of Common Stocks’ Efficiency, 19 J. CORP.
  L. 285 (1994), 291.
  38
    See Cammer, 711 F. Supp. at 1292, citing Bromberg & Lowenfels: “We think that, at a minimum, there should be
  a presumption – probably conditional for class determination – that certain markets are developed and efficient for
  virtually all the securities traded there: the New York and American Stock Exchanges, the Chicago Board Options
  Exchange and the NASDAQ National Market System.”
  39
    For example, there are rules for minimal market capitalization and specialists are required to maintain an orderly
  market; see Section 102 http://wallstreet.cch.com/LCM/Sections/. See also, William Sharpe, Gordon J. Alexander &
  Jeffrey W. Bailey, Investments, Prentice Hall, 45-53 (5th ed. 1995); Frank J. Fabozzi, Franco Modigliani & Frank J.
  Jones, Foundations of Financial Markets and Institutions, Prentice Hall, Chapter 18 – Appendix A (4th ed. 2010).




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  decentralized market makers providing liquidity for trading, the NYSE and NASDAQ rely on a

  computerized system to match orders and provide quotes.40 The minimum requirements to be

  listed on the NYSE or NASDAQ and remain in good standing virtually guarantee a liquid market

  for that security. Therefore, the number of “market makers” itself is not a particularly relevant

  metric in this case.

             41.   Nevertheless, according to Bloomberg, throughout the Class Period, there were 107

  market makers with reported volume for HIIQ Common Stock.41 Therefore, HIIQ Common

  Stock easily meets the letter and spirit of this factor, further supporting the efficiency of the

  market during the Class Period.

         E. CAMMER FACTOR 4: SEC FORM S-3 ELIGIBILITY

             42.   The fourth Cammer Factor is SEC Form S-3 eligibility, which states,

                    …[I]t would be helpful to allege the Company was entitled to file an S-3
                    Registration Statement in connection with public offerings or, if ineligible,
                    such ineligibility was only because of timing factors rather than because the
                    minimum stock requirements set forth in the instructions to Form S-3 were
                    not met. Again, it is the number of shares traded and value of shares
                    outstanding that involve the facts which imply efficiency.42

             43.   Through Form S-3, the SEC allows certain companies that have previously

  provided sufficiently high levels of public information to incorporate prior SEC filings by

  reference into current filings and not repeat the information, since it is already deemed to be

  widely publicly available.43 In order to be eligible to issue a Form S-3, among other things, a

  company 1) must be subject to the Securities Exchange Act of 1934 reporting requirements for



  40
    For NYSE, see https://www.nyse.com/market-model. For NASDAQ, see
  https://www.nasdaqtrader.com/Trader.aspx?id=TradingUSEquities.
  41
       Bloomberg RANK function.
  42
       Cammer, 711 F. Supp. at 1287.
  43
       For additional information, see www.sec.gov/about/forms/forms-3.pdf.


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  more than one year, 2) must have filed all documents in a timely manner for the past twelve

  months, and 3) must show that it has not failed to pay dividends or sinking funds nor defaulted

  on debts or material leases. Eligibility to file a Form S-3 is confirmatory evidence of efficiency,

  not a requirement. Interpreted in this way, the standard makes sense as an indicator of efficiency.

             44.   I have found no evidence that HIIQ was not S-3 eligible throughout the Class

  Period. Throughout the Class Period, HIIQ had been subject to SEC filing requirements for more

  than one year, had filed all documents in a timely manner over the preceding twelve months, and

  did not fail to meet its debt obligations, to my knowledge. In fact, HIIQ filed a Form S-3 before

  the Class Period (on May 5, 2017).44 Therefore, HIIQ meets this Cammer efficiency factor,

  which supports the conclusion that HIIQ Common Stock traded in an efficient market.

         F. CAMMER FACTOR 5: PRICE REACTION TO NEW INFORMATION

             45.   The fifth Cammer Factor relates to how the price of a security reacts to new,

  company-specific information and states:

                    … [O]ne of the most convincing ways to demonstrate [market] efficiency
                    would be to illustrate, over time, a cause and effect relationship between
                    company disclosures and resulting movements in stock price.45

             46.   Establishing a causal connection between new company-specific events and

  movements in the market price is convincing evidence of market efficiency. A technique often

  relied upon, both inside and outside of the context of litigation, to establish such a causal

  connection is called an “event study.” An event study is a well-accepted statistical method

  utilized to isolate the impact of information on market prices.46 Indeed, academics used event


  44
    https://www.sec.gov/cgi-bin/browse-edgar?action=getcompany&CIK=0001561387&type=s-
  3&dateb=&owner=exclude&count=40
  45
       Cammer, 711 F. Supp. 1291.
  46
       A. Craig MacKinlay, Event Studies in Economics and Finance, 35 J. ECON. LITERATURE, 13 (1997).




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  studies as one tool for evaluating the efficient market hypothesis in the first place. Event studies

  have been used for over 40 years and have appeared in hundreds if not thousands of academic

  articles as scientific evidence in evaluating how new information affects securities prices.47

             47.   An event study is a technique used to measure the effect of new information on the

  market prices of a company’s publicly traded securities. New information may include, for

  example, press releases, earnings reports, SEC filings, and news reports or analyst reports. An

  event study is conducted by specifying a model of expected price movements conditioned on

  outside market factors and then testing whether the deviation from expected price movements is

  sufficiently large that simple random movement can be rejected as the cause.

             48.   To analyze cause and effect, I performed an event study to determine whether HIIQ

  Common Stock reacted to earnings announcements in a manner significantly different from how

  the stock moved on days with no HIIQ-related news. Based on the event study I performed,

  which explicitly controls for market factors, I find that there is a clear cause-and-effect

  relationship between new public information about HIIQ and the market price of HIIQ Common

  Stock. I now describe in further detail the event study methodology, the events I tested, and the

  results.

             49.   A well-accepted method for performing an event study is to estimate a regression

  model over some period of time (an “estimation window”) to observe the typical relationship

  between the market price of the relevant security and broad market factors.48 I have performed



  47
       John J. Binder, The Event Study Methodology Since 1969, 11 REV. QUANTITATIVE FIN. & ACCT., 111 (1998).
  48
     A “regression” or “regression model” is a statistical technique for measuring the ability of one or more variables
  (the “independent variables”) to “explain” another variable of interest (the “dependent variable”). In this case, the
  daily percentage change in HIIQ Common Stock (the HIIQ daily return) is the dependent variable and the
  contemporaneous daily returns of the market index is the independent variable. For a general discussion of
  regression analysis, see Damodar N. Gujarati, Basic Econometrics, McGraw Hill, Chapters 1-3 (3rd ed. 1995).




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  such an analysis in this matter where I evaluate the relationship between HIIQ Common Stock’s

  daily returns (percentage change in price) controlling for the S&P 500 Total Return Index (the

  “Market Index”).49

             50.    For each trading day analyzed, I constructed a regression model using data from the

  prior 120 trading days (roughly six months).50 By using a “rolling” estimation window, it allows

  for the relationship between HIIQ Common Stock and market factors, as well as firm-specific

  volatility to update over time according to the data observed over the most recent 120 trading day

  period. Use of a rolling model to account for changing volatility and evolving relationships

  among market indices is accepted in peer-reviewed literature.51

             51.    The model indicates that there is a positive correlation between HIIQ Common

  Stock and the control variable. In other words, the movement of the Market Index helps explain

  the price movements of HIIQ Common Stock during the broader Analysis Period (and during the

  Class Period, which is a subset of the Analysis Period). For instance, choosing a day in the Class

  Period purely as an example, August 13, 2018, and looking at the regression results based on the

  120 days prior to that day, the estimated coefficient for the S&P 500 is 0.76 which means that a

  1% rise in the S&P 500 predicts a 0.76% increase in returns for HIIQ Common Stock. Exhibit 5

  plots the estimated coefficient for the rolling regression models for each day during the Analysis




  49
     Typically, to analyze cause and effect under Cammer Factor Five, I use a regression that controls for both industry
  and market forces. However, in this case, HIIQ had few close peers and the addition of an industry index did not
  alter the predictive power of my model. I considered an internet industry index, the Dow Jones – Internet Composite
  Index, as well as an insurance industry index, the S&P Americas BMI Insurance (Industry Group) Total Return
  Index.
  50
    A. Craig MacKinlay, Event Studies in Economics and Finance, 35 J. ECON. LITERATURE, 15 (1997): “For
  example, in an event study using daily data and the market model, the market model parameters could be estimated
  over the 120 days prior to the event.”
  51
       Phillip A. Braun, Good News, Bad News Volatility, and Betas, 50 J. FIN. 1575, 1597 (1995).


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  Period (of which the Class Period is a subset), and it demonstrates there is a consistently positive

  relationship between the general market and the price of HIIQ Common Stock.

          52.    Another important statistic from the regression is the standard deviation of the

  errors, which measures the degree of imprecision in the predictions from the model. Put another

  way, this measure provides a metric for how much unexplained price movement remains in the

  price movement of HIIQ Common Stock after controlling for the Market Index. For instance, on

  the example date, August 13, 2018, the model predicted that absent any value relevant new firm-

  specific information, the price of HIIQ Common Stock would decrease by 0.23% because the

  S&P 500 was down 0.40%.52 Because of the inherent randomness observed in stock price

  returns, I do not expect the model to predict returns exactly. In this example, I observe an actual

  return of 4.08%. Thus, the “abnormal return” for this day is 4.32% (the actual return of 4.08%

  minus the predicted return of -0.23%). I then rely on the standard deviation of the errors from the

  regression model to tell if this abnormal return of 4.32% is sufficiently large that I can reject

  random movement as the explanation.

          53.    The test for whether randomness can be rejected is done by calculating what is

  known as a “t-statistic,” which represents the number of standard deviations between the actual

  observation and the prediction. For the example date, an abnormal return of 4.32% represents

  1.65 standard deviations or a t-statistic of 1.65 (abnormal return of 4.32% divided by the

  standard deviation of the errors of 0.026). Using the standard assumption that, in the absence of

  new value relevant company-specific news, abnormal returns will be normally distributed around

  zero, probability theory implies that based on randomness alone, using a 95% confidence level


  52
    The predicted return of -0.23% is found as follows: 0.76 * -0.40% (Coefficient on Market Index times Market
  Index return) + 0.07% (constant term from regression).




                                                     23
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  and large sample size, the abnormal return should have a t-statistic greater than 1.96 (or less than

  -1.96) only 5% of the time.53 Stating this point another way, there is a 95% confidence that the

  actual return will fall within 1.96 standard deviations of the predicted return unless there is some

  non-random explanation. Since our example has a t-statistic of 1.65, the abnormal return is not

  statistically significant at the 95% confidence level, and I cannot reject randomness as the cause

  of the abnormal price movement with greater than 95% confidence. By contrast, if on a

  particular day one observes an abnormal return that has a t-statistic of a magnitude greater than

  1.96 (statistically significant at the 95% confidence level) and one observes new value relevant

  firm-specific information, one would reject randomness as the explanation with 95% confidence

  and infer that the new information is the cause of the stock price movement.

          54.    Exhibit 6 shows that the standard deviation of the errors for HIIQ Common Stock

  varied over the Analysis Period (of which the Class Period is a subset). By adopting the rolling

  regression model, my event study explicitly adjusts for the changing Company-specific

  volatility.

          55.    To analyze cause-and-effect, I examined the price response of HIIQ Common Stock

  to the 16 earnings announcements during the Analysis Period.54 This includes the seven earnings

  announcements that occurred during the Class Period as well as the four earnings announcements




  53
    David I. Tabak & Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the Courtroom,” Litigation
  Services Handbook, The Role of the Financial Expert, Ch. 19, (3rd ed. 2001). The financial economics literature
  often identifies the 90% threshold as a relevant boundary for significance as well.
  54
    Two of these earnings announcements were preliminary earnings announcements (i.e., October 16, 2017 and
  January 13, 2020).




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  prior to the start of the Class Period and the five earnings announcements after the end of the

  Class Period in order to have a more robust set of observations.55 See Exhibit 7.

           56.   There are many academic articles and financial treatises that explain theoretically

  and demonstrate empirically that the release of company earnings information often (but not

  necessarily always) causes a significant change in investors’ beliefs regarding the value of a

  security.56 Also, newly released earnings reports by a company are an objective set of news to

  identify and test. Considering the tenth earnings release listed in Exhibit 7 as an example, on

  October 29, 2018 after-market hours the Company announced positive third quarter results for

  the fiscal quarter ending September 30, 2018,57 announcing revenue and earnings per share that

  beat consensus analyst estimates.58 In response, the market price of HIIQ Common Stock

  increased by 9.91%, compared to the predicted return of 2.49%. Thus, the abnormal return on

  October 30, 2018 was 7.42%. With a t-statistic of 2.48, this abnormal price movement is

  statistically significant at the 95% level, and I therefore have scientific evidence that HIIQ

  Common Stock reacted rapidly to this new information.




  55
     For purposes of this analysis, I analyzed the broader time period of the Analysis Period to enhance the power of
  my statistical tests. After analyzing and applying the methodologies described herein to the longer period, of which
  the Class Period is a subset, I conclude that the evidence supports efficiency during the Class Period.
  56
     William H. Beaver, “The Information Content of Annual Earnings Announcements,” Empirical Research in
  Accounting: Selected Studies, 1968, supplement to the Journal of Accounting Research, Vol. 6, 67-92 (1968);
  Robert G. May, “The Influence of Quarterly Earnings Announcements on Investor Decisions as Reflected in
  Common Stock Price Changes,” Empirical Research in Accounting: Selected Studies, 1971, supplement to the
  Journal of Accounting Research, Vol. 9, 119-163(1971); Joseph Aharony & Itzhak Swary, “Quarterly Dividend and
  Earnings Announcements and Stockholders’ Returns: An Empirical Analysis,” The Journal of Finance, Vol. 35, No.
  1, 1-12 (1980).
  57
    See, “Health Insurance Innovations, Inc. Reports Third Quarter 2018 Financial and Operating Results,” Globe
  Newswire, October 29, 2018.
  58
    “Another Strong Quarter; Moves Closer to Closing Multi-State Review; Overweight,” Cantor Fitzgerald, October
  29, 2018.




                                                       25
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           57.   Similar to this example, I analyzed the market reaction to HIIQ’s other earnings

  announcements I identified above. In total, of the 16 earnings announcements HIIQ issued

  during the Analysis Period, 8 resulted in statistically significant price movements above the 95%

  confidence.59

           58.   Exhibit 7 presents a summary of the earnings releases during the Analysis Period

  and Exhibits 8A–8P depict the intraday price movements of HIIQ Common Stock for each of

  these announcement dates.

           59.   I then compared these results against the 224 days during the Analysis Period where

  I identified no HIIQ-related news from the Factiva database or the Complaint and when there

  were no analyst reports, SEC filings, or Company press releases issued. Of these 224 days, there

  were 12 statistically significant price movements. Thus, during the Analysis Period there was a

  statistically significant price reaction at the 95% confidence level or greater on 50.00% of the

  earnings announcements, but when compared to days with no HIIQ-related news, I observed

  only 5.36% of the days having statistically significant reactions.60, 61 This is powerful scientific

  evidence of a cause-and-effect relationship between new publicly released information

  concerning the Company and changes in the price of HIIQ Common Stock.

           60.   Furthermore, on the 224 days with no news, the average change in price of HIIQ

  Common Stock was only 2.71% after controlling for market factors, while the average change in




  59
    It is not unusual to observe many earnings announcements that are not statistically significant. This happens, for
  instance, in quarters where there was insufficient surprise and/or the firm roughly met expectations, if the firm
  offered little change in guidance, and/or if there was a mix of both positive and negative information.
  60
    This difference between 50.00% and 5.36% is itself statistically significant at the 95% confidence level (as well as
  beyond the 99% confidence level).
  61
    Based on randomness alone, one would expect 5% of the no news days to be statistically significant. The
  observed rate of 5.36% is not statistically significantly different than 5%.




                                                       26
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  HIIQ Common Stock on earnings announcement dates after controlling for market factors was

  8.38%. In other words, the average magnitude of stock price movement on earnings

  announcement days was about 3 times higher than on no news days.62 Again, this demonstrates

  that on days when important company-specific information is released to the market, the stock

  price moves much more than on days where there is no company-specific news. This provides

  further evidence of a cause-and-effect relationship between company-specific news and changes

  in the price of HIIQ Common Stock, and thus an efficient market.

           61.   The bar charts below summarize this analysis while Exhibit 9 gives more detail.




  62
    This difference between 8.38% and 2.71% is itself statistically significant at the 95% confidence level (as well as
  beyond the 99% confidence level).


                                                       27
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           62.    Finally, when important Company-specific news is released to the market (e.g.,

  earnings announcements), the daily trading volume of HIIQ Common Stock also tends to be

  much higher63 than on days where there is no news. For instance, the average daily trading

  volume of the 16 days with earnings announcements was 1.8 million. Compare this to the

  average daily trading volume of 0.4 million for days where there is no news in the Analysis

  Period.64 The bar chart below summarizes this analysis.




  63
    William H. Beaver, “The Information Content of Annual Earnings Announcements,” Empirical Research in
  Accounting: Selected Studies, 1968, supplement to the Journal of Accounting Research, Vol. 6, 69, 84 (1968).
  64
   This difference between 1.8 million and 0.4 million is itself statistically significant at the 95% confidence level (as
  well as beyond the 99% confidence level).


                                                        28
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         63.   The bar charts above establish a strong cause-and-effect relationship between new,

  Company-specific news and rapid changes in the price of HIIQ Common Stock. The earnings

  announcement days have a much greater percentage of significant price movements, higher daily

  trading volume on average, and statistically significant larger price changes than those found on

  days with no news.

         64.   In conclusion, the event study analysis and intraday charts presented in this section

  demonstrate a clear cause-and-effect relationship between new material news and changes in the

  market price of HIIQ Common Stock during the Analysis Period, and thus the Class Period.

     G. KROGMAN FACTOR 1: MARKET CAPITALIZATION

         65.   In Krogman v. Sterritt, the court noted that economic theory includes other possible

  relevant factors for determining whether a stock trades in an efficient market, in addition to the



                                               29
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  Cammer factors.65 The Krogman Court held, “[m]arket capitalization, calculated as the number

  of shares multiplied by the prevailing share price, may be an indicator of market efficiency

  because there is a greater incentive for stock purchasers to invest in more highly capitalized

  corporations.”66 Furthermore, Thomas and Cotter find that firms with a larger market

  capitalization tend to have “larger institutional ownership and tend to be listed on the New York

  Stock Exchange with a greater analyst following.”67 Therefore, market capitalization is another

  quantifiable measure that is likely correlated with efficiency.

             66.    HIIQ Common Stock had a high market capitalization compared with many other

  NYSE and NASDAQ stocks during the Class Period, thus suggesting this factor is supportive of

  efficiency. There were between 11.5 million and 13.7 million shares of HIIQ Common Stock

  outstanding throughout the Class Period.68

             67.    Based on the market price, the market capitalization for HIIQ Common Stock

  averaged $430.2 million during the Class Period. Exhibit 10 shows HIIQ’s market capitalization

  over the Class Period. Exhibit 11 shows that for the vast majority of the Class Period, HIIQ

  Common Stock had a market capitalization in the interquartile range (the middle 50% of the

  distribution) of all common stocks trading on the NYSE and NASDAQ, thus suggesting this

  factor is supportive of efficiency.




  65
    Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001) (“Krogman”). The factors identified by the Krogman Court
  are 1) market capitalization, 2) the percentage of stock not held by insiders (the float) and 3) bid-ask spread.
  66
       Krogman, 202 F.R.D. at 478.
  67
    Randall S. Thomas & James F. Cotter, Measuring Securities Market Efficiency in the Regulatory Setting. 63 LAW
  & CONTEMP. PROBS. 117 (2000).
  68
       Shares outstanding data obtained from SEC filings.




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             68.   Given that the market capitalization for HIIQ Common Stock was generally

  consistent with other publicly traded companies, this factor is supportive of market efficiency for

  HIIQ Common Stock.

         H. KROGMAN FACTOR 2: THE BID-ASK SPREAD

             69.   The Krogman court’s second additional efficiency factor considered the bid-ask

  spread for a security, saying, “[a] large bid-ask spread is indicative of an inefficient market,

  because it suggests that the stock is too expensive to trade.”69 The bid-ask spread is an important

  indicator of the degree to which a market is developed. The bid-ask spread represents a measure

  of the cost to transact in a market. Narrow bid-ask spreads indicate less uncertainty regarding

  valuation and that reasonably sized trades will not substantially impact the market price. Wider

  bid-ask spreads indicate greater liquidity costs and less ability to trade without moving the

  market price. In addition, the wider the bid-ask spread, the more costly it is to arbitrage away

  small inefficiencies. Thus, the narrower the bid-ask spread, the greater indication of an efficient

  market.

             70.   I analyzed bid-ask spreads for HIIQ Common Stock during the Class Period.

  Exhibit 12 shows that during this period, the time-weighted average percentage bid-ask spread

  for HIIQ Common Stock in each month was between 0.049% and 0.170%.70 This is well below

  the average and median bid-ask spread of a random sample of 100 other common stocks trading



  69
       Krogman, 202 F.R.D. at 478.
  70
     The time-weighted average bid-ask spread was calculated by taking the average of the spread during trading hours
  on the primary exchange of each security, weighted by the amount of time each quote prevails in the market. That is,
  I take the weighted average quote, with the weight being the number of seconds between that quote and the next
  quote that occurs. Spread is calculated as the difference between the bid price and ask price divided by the midpoint
  of the bid-ask spread. I calculated the National Best Bid and Offer using the data filtering procedures described in
  Roger D. Huang & Hans R. Stoll, Dealer versus auction markets: A paired comparison of execution costs on
  NASDAQ and the NYSE, 41 J. FIN. ECON. 313 (1996).




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  on the NYSE and NASDAQ in November 2017 (the full month during the Class Period when

  HIIQ had the largest percentage bid-ask spread).71,72 Exhibit 12 demonstrates that HIIQ

  Common Stock had a monthly average bid-ask spread of 0.170% in November 2017, while a

  randomly selected group of 100 other common stocks on the NYSE and NASDAQ had an

  average bid-ask spread of 1.87%. Accordingly, HIIQ Common Stock’s bid-ask spread was low

  during the Class Period, and this factor further supports market efficiency for HIIQ Common

  Stock.

       I. KROGMAN FACTOR 3: FLOAT

           71.   The Krogman court’s last additional factor is the public float (i.e., the amount of

  shares not held by insiders) is considered to be indicative of market efficiency. As shown in

  Exhibit 13, during the Class Period, insiders held, on average, 7.8% of all outstanding shares of

  HIIQ Common Stock, meaning that approximately 92.2% of HIIQ’s shares were held by non-

  insiders. This large percentage of shares held by non-insiders supports a finding of market

  efficiency.

       J. ADDITIONAL FACTOR: INSTITUTIONAL OWNERSHIP

           72.   Institutional investors are considered to be sophisticated and well-informed with

  access to most publicly available information for the stocks that they own. These investors

  include mutual funds, pension funds, investment banks, and other types of large financial

  institutions that have substantial resources to analyze the securities they purchase for their


  71
    Quote data for HIIQ and other publicly traded stocks were obtained from the TICK database. See
  https://tickapi.tickdata.com/.
  72
    I constructed a random sample because I am not aware of any exchange-wide reporting of average or median bid-
  ask spreads. Determining the average bid-ask spread for the entire market would be a very costly and data intensive
  process, therefore I adopted a random sampling methodology. I determined the constituents of the NYSE and
  NASDAQ for November 2017 and then randomly generated a list of 100 common stock securities. I then calculated
  the time-weighted average monthly bid-ask spread for November 2017.


                                                      32
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  portfolios. As Exhibit 13 shows, 316 institutions reported owning HIIQ Common Stock during

  the Class Period, holding virtually the entirety of the public float. This substantial level of

  institutional ownership of HIIQ Common Stock during the Class Period coupled with the high

  trading volume further supports a conclusion of market efficiency.

         K. ADDITIONAL FACTOR: AUTOCORRELATION

             73.    If previous price movements of a security have the ability to predict future price

  movements, then it is said to be “autocorrelated.” Autocorrelation is relevant to efficiency

  because if the autocorrelation is persistent and sufficiently large that a trader could profit from

  taking advantage of the autocorrelation, it means that past price movements are not fully

  reflected in the current price, which would suggest market inefficiency.

             74.    Autocorrelation may occur from time to time for random reasons or due to the

  pattern of firm-specific news. Inefficiency would only be indicated, however, if the

  autocorrelation were large enough and persistent enough that a trader could consistently earn

  riskless profits over time.73

             75.    A well-accepted methodology to test for the existence of autocorrelation is to run a

  regression analysis that tests whether, on average, the abnormal return from the previous day has

  a statistically significant effect on the abnormal return today.74 If the previous day’s abnormal

  return has no statistically significant predictive power, then there is no evidence of

  autocorrelation.




  73
    Doron Avramov, Tarun Chordia & Amit Goyal, Liquidity and Autocorrelations in Individual Stock Returns, 61 J.
  FIN. 2365, 2367-68 (2006); Michael C. Jensen, Some Anomalous Evidence Regarding Market Efficiency, 6 J. FIN.
  ECON. 95-101 (1978).
  74
       William H. Greene, Econometric Analysis, Prentice Hall, Sixth Edition, 2008, Chapter 19, p. 644.




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             76.    Exhibit 14 displays the autocorrelation coefficient for HIIQ Common Stock for the

  Class Period using the abnormal returns from the event study model described above. The

  coefficient is not statistically different than zero, meaning there is no evidence of autocorrelation

  in the trading of HIIQ Common Stock during the Class Period.75 These results are consistent

  with the notion that an investor could not consistently predict abnormal movements and earn

  arbitrage profits. Therefore, this factor also supports the conclusion that HIIQ Common Stock

  traded in an efficient market throughout the Class Period.

         L. ADDITIONAL FACTOR: OPTIONS

             77.    In addition to the factors analyzed above, there was also considerable option trading

  in HIIQ Common Stock during the Class Period.76 Academic articles have demonstrated that

  options written on existing assets can improve efficiency by permitting an expansion of the

  contingencies that are covered by the market.77 Empirical analysis has shown that option listings

  are associated with a decrease in bid-ask spread and increase in quoted depth, trading volume,

  trading frequency, and transaction size – an overall improvement of the market quality of the

  underlying stocks.78 Thus, this factor also supports that HIIQ Common Stock traded in an

  efficient market throughout the Class Period.

  VIII. DAMAGES

             78.    Counsel for the Lead Plaintiffs also asked me to opine on whether per share

  damages could be measured for all Class members under Section 10(b) of the Exchange Act


  75
       I also found no evidence of statistically significant autocorrelation during the Analysis Period.
  76
   For instance, according to iVolatility, there were 439,400 HIIQ Common Stock put contracts and 397,541 HIIQ
  Common Stock call contracts that traded during the Class Period.
  77
       Stephen A. Ross, Options and Efficiency, 90 Q. J. ECON. 75 (1976).
  78
   Raman Kumar, Atulya Sarin & Kuldeep Shastri, The Impact of Options Trading on the Market Quality of the
  Underlying Security: An Empirical Analysis, 53 J. FIN. 717 (1998).


                                                           34
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  using a common methodology that is consistent with the Lead Plaintiffs’ theory of liability.

  There is a standard and well-accepted method for calculating class wide damages in cases under

  Section 10(b) of the Exchange Act. This method, typically referred to as the “out-of-pocket”

  method states that damages are equal to the artificial inflation in the share price at the time of

  purchase minus the artificial inflation per share at the time of sale (or, if the share is not sold

  before full revelation of the fraud, the artificial inflation at the time of purchase, subject to the

  Private Securities Litigation Reform Act of 1995’s (“PLSRA’s”) “90-day lookback” provision, a

  formulaic limit on damages that also can be applied class-wide).79 The out-of-pocket method has

  been applied in virtually every matter in which I have observed or participated in as a consulting,

  testifying, or neutral expert.

          79.    Once the inflation per share has been quantified on each day during the class period,

  the computation of damages for each class member and for every share is formulaic based upon

  information collected in the claims process (i.e., the investor’s purchase and sale history for the

  security, which is routinely available from brokerage statements and/or other documents that

  provide evidence of securities transactions). Therefore, there is a well-accepted method to

  compute damages in Section 10(b) matters such as this.

          80.    Separate and apart from whether there is a common method for computing damages

  is the question of how to quantify the artificial inflation per share that is an input to the damages

  methodology. The quantification of the artificial inflation per share requires a detailed loss



  79
    Specifically, the PSLRA states: “…in any private action arising under this title in which the plaintiff seeks to
  establish damages by reference to the market price of a security, the award of damages to the plaintiff shall not
  exceed the difference between the purchase or sale price paid or received, as appropriate, by the plaintiff for the
  subject security and the mean trading price of that security during the 90-day period beginning on the date on which
  the information correcting the misstatement or omission that is the basis for the action is disseminated to the
  market.” See, Private Securities Litigation Reform Act of 1995, dated December 22, 1995, 737, 748-49.




                                                      35
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  causation analysis.80 Nevertheless, whatever the method for determining the artificial inflation

  per share, it would be common to all class members.

           81.   For example, the most widely-used technique to quantify artificial inflation starts

  from an event study that measures price reactions to disclosures that revealed the relevant truth

  concealed by the alleged material omissions and/or misrepresentations (i.e. a “corrective

  disclosure”).81 Such an event study would also need to consider whether and to what extent any

  non-fraud related information (i.e. “confounding information”) contributed to the observed price

  movement. If there is such confounding information, disaggregating the price impact of

  corrective disclosures from confounding information may utilize valuation techniques and may

  depend on information learned through discovery. Determining the specific valuation approach

  necessary to perform a loss causation analysis that reasonably disaggregates corrective and

  confounding information is an inherently case-specific question that depends on specific facts

  and circumstances. Examples of such techniques include, but are not limited to, fundamental

  valuation analysis such as discounted cash flow methods, valuation multiple methods (i.e. price

  to earnings multiples, price to EBITDA multiples, price to revenue multiples, etc.), use of

  academic studies regarding the value of certain types of information, and other available

  valuations whether from securities analysts or made available through discovery. Regardless of

  the technique used, it is performed on a class-wide basis – in other words, the specific

  methodology applies regardless of the identity or circumstances of any individual class member.




  80
    I have not been asked to conduct a loss causation analysis at this time. In my experience, loss causation analyses
  are often informed by information learned in discovery.
  81
    The event study I have performed for this report is for Market Efficiency purposes and is not an attempt at valuing
  artificial inflation.


                                                       36
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           82.   The loss causation analysis would also require an analysis of how inflation per

  share may have evolved over the class period. Again, the nature of this analysis is intensely

  factual, case-specific, and may depend on information learned through discovery. For example,

  an often-used method is to assume “constant dollar inflation”, which implies that the artificial

  inflation was the same dollar amount during the class period. In certain circumstances, it may be

  more reasonable to apply “constant percentage inflation”, which implies the price was inflated by

  a consistent percentage in the absence of additional disclosures. In other cases, the artificial

  inflation has evolved based upon the nature and timing of specific misstatements or the inflation

  varied on a daily basis as a result of information contained in internal documents obtained in

  discovery. To summarize, the determination of how artificial inflation evolved over the class

  period is also a case-specific, fact-specific loss causation exercise that can rely on valuation

  techniques including, but not limited to, event studies, fundamental valuation, contemporaneous

  valuations or documents, or some combination of the above. Once again, however, all of these

  loss causation methodologies are class-wide in nature and do not depend on the identity or

  circumstance of any specific investor.

           83.   Accordingly, although I have not been asked to calculate class-wide damages in this

  report, and such calculations would likely depend, in part, on the completion of discovery, and

  full development of the case record, based on my expertise and experience in dozens of similar

  matters and understanding the nature of the claims in this case, I conclude that damages in this

  action are subject to a well-settled, common methodology that can be applied to the Class as a

  whole.




                                                37
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  IX. CONCLUSION

         84.   In sum, every factor analyzed supports my opinion that HIIQ Common Stock traded

  in an efficient market during the Class Period. Furthermore, class-wide damages in this action

  can be calculated on a class-wide basis using a common methodology.

         85.   I declare under penalty of perjury under the laws of the United States of America

  that the foregoing is true and correct.



         Executed on May 21, 2020




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                                    Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 40 of 87 PageID 953
                                                                                        Exhibit 1
                                                                          Summary of Efficiency Factors for HIIQ
     Factor                                              Summary of Factor                                                                                               HIIQ

Average Weekly "Turnover measured by average weekly trading of 2% or more of the outstanding shares would • The average weekly trading volume of 26.66%, as a percentage of shares outstanding, exceeds the
Trading Volume justify a strong presumption that the market for a security is an efficient one; 1% would justify a standard of 2% that courts have suggested would justify a strong presumption of an efficient market
   Cammer I    substantial presumption."                                                                           (Note: 3.41 million shares traded weekly on average during the Class Period).


                 “…it would be persuasive to allege a significant number of securities analysts followed and
Analyst Coverage reported on a company's stock during the class period. The existence of such analysts would          • During the Class Period at least 14 securities analysts issued 173 analyst reports which implies that
  Cammer II      imply, for example, the [auditor] reports were closely reviewed by investment professionals,         important information relevant to trading HIIQ Common Stock was widely communicated to the market.
                 who would in turn make buy/sell recommendations to client investors.”


                  “For over the counter markets without volume reporting, the number of market makers is
                                                                                                                      • Because HIIQ's shares were exchange-traded on the Nasdaq during the Class Period, not over the
 Market Makers    probably the best single criterion. Ten market makers for a security would justify a substantial
                                                                                                                      counter, this factor is satisfied. According to Bloomberg, throughout the Class Period, there were at least
  Cammer III      presumption that the market for the security is an efficient one; five market makers would
                                                                                                                      107 market makers for HIIQ Common Stock.
                  justify a more modest presumption.”


                  "It would be helpful to allege the Company was entitled to file an S-3 Registration Statement in
  SEC Form S-3    connection with public offerings or, if ineligible, such ineligibility was only because of timing
                                                                                                                      • HIIQ filed a Form S-3 before the Class Period (on May 5, 2017). I have found no evidence to believe that
    Eligibility   factors rather than because the minimum stock requirements set forth in the instructions to
                                                                                                                      HIIQ was not S-3 eligible throughout the Class Period, thus satisfying this factor.
   Cammer IV      Form S-3 were not met. Again, it is the number of shares traded and value of shares
                  outstanding that involve the facts which imply efficiency."

Price Reaction to “…one of the most convincing ways to demonstrate [market] efficiency would be to illustrate,        • The event study demonstrates a clear cause and effect relationship. A statistical test shows a significant
New Information over time, a cause and effect relationship between company disclosures and resulting                  contemporaneous relationship between new firm-specific news and significant changes in the market
   Cammer V       movements in stock price.”                                                                          price for HIIQ Common Stock..


                                                                                                                  • As of 9/30/2017 and 3/31/2019, HIIQ's market capitalization was $180.8 million and $332.2 million,
    Market        Firms with a larger market capitalization tend to have “larger institutional ownership and tend
                                                                                                                  respectively, which is at least the 24th percentile of all NYSE and NASDAQ stocks. HIIQ Common Stock
 Capitalization   to be listed on the New York Stock Exchange with a greater analyst following."
                                                                                                                  therefore meets this criterion.


                                                                                                                      • During the Class Period, the average percentage bid-ask spread for HIIQ Common Stock in each month
                The bid-ask spread represents a measure of the cost to transact in a market. Narrow bid-ask
                                                                                                                      ranged from 0.049% to 0.170%. HIIQ's average percentage bid-ask spread was well below the mean and
                spreads indicate less uncertainty regarding valuation and that reasonably sized trades will not
 Bid-Ask Spread                                                                                                       median bid-ask spread of a random sample of 100 other common stocks trading on the NASDAQ and
                substantially impact the market price. Wider bid-ask spreads indicate greater liquidity costs
                                                                                                                      NYSE in November 2017 (the full month when HIIQ had the largest bid-ask spread). This supports a
                and less ability to trade without moving the market price.
                                                                                                                      finding of efficiency.

    Float and                                                                                                        • On average approximately 92.2% of HIIQ shares were held by non-insiders. 316 institutions held the
                  Institutional investors are considered to be sophisticated, well-informed investors with access to
  Institutional                                                                                                      vast majority of the public float throughout the Class Period which further supports the finding that
                  most publicly available information for the stocks that they own.
   Ownership                                                                                                         HIIQ Common Stock traded in an efficient market.


                 If autocorrelation is persistent and sufficiently large that a trader could profit from taking • There was no evidence of statistically significant autocorrelation, which means that there was no
 Autocorrelation advantage of the autocorrelation, it suggests market inefficiency because past price movements systematic opportunity for a trader to profit from trading HIIQ Common Stock based solely on its past
                 are not fully reflected in the current price.                                                  price movements. This supports a finding of efficiency.

                  Empirical analysis has shown that option listings are associated with a decrease in bid-ask
                                                                                                                 • There were 439,400 HIIQ Common Stock put contracts and 397,541 HIIQ Common Stock call contracts
    Options       spread and increase in quoted depth, trading volume, trading frequency, and transaction size –
                                                                                                                 that traded during the Class Period. HIIQ Common Stock therefore easily meets this criterion.
                  an overall improvement of the market quality of the underlying stocks.
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                                                                                   HIIQ Common Stock Price & Volume




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                                                                                                Exhibit 2




                                                                                                                                                                                                                                      07/22/18
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                                                                                                                                                                                                                                                 Volume
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                                                                                                                                                                                           Closing Price
                                                                         Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 42 of 87 PageID 955


                                                                                                                                 Exhibit 3
                                                                                                          HIIQ Common Stock Average Weekly Trading Volume
                                                                                                                 as a Percentage of Shares Outstanding
                                                                                                                           9/25/2017 - 4/11/2019
120%

                                                   Average Weekly Volume as
                                                   Percentage of Shares Outstanding:
100%                                               Average: 26.66%
                                                   Median: 17.94%


80%                                                                                                                                                                                                                                "2% average weekly trading volume of
                                                                                                                                                                                                                                   the outstanding shares justify strong
                                                                                                                                                                                                                                   presumption that the market for the
                                                                                                                                                                                                                                   security is an efficient one" (Cammer)
60%                                                "1% average weekly trading
                                                   volume of the outstanding shares
                                                   justify a substantial presumption"
                                                   (Cammer)
40%



20%



 0%
       09/25/17
                  10/09/17
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Source: S&P Capital IQ and SEC Filings.                            Volume as a Percentage of Shares Outstanding
Note: Average weekly trading volume is calculated by analyzing each five consecutive trading days (rather than calendar weeks) starting with the first day of the Class Period on
September 25, 2017 through April 11, 2019. The last week consists of four trading days (i.e., 4/8/2019, 4/9/2019, 4/10/2019, 4/11/2019), and therefore, the average of the daily trading
volume on this day is multiplied by five to get a comparable measure for the average weekly trading volume as a percentage of shares outstanding. The last week is excluded from the
median calculation.
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                                          Exhibit 4
                    Summary of Securities Analyst Reports Issued for HIIQ
                                                                                                                         Reports Issued
                                                                                                                     During the Class Period:
              Analyst Name                                                                                            9/25/2017 - 4/11/2019
     [1]      CANTOR FITZGERALD AND COMPANY                                                                                    45
     [2]      CANACCORD GENUITY                                                                                                     34
     [3]      NORTHLAND SECURITIES                                                                                                  30
     [4]      CRAIG HALLUM CAPITAL                                                                                                  13
     [5]      WRIGHT INVESTORS SERVICE                                                                                              10
     [6]      MINKABU                                                                                                                9
     [7]      LAKE STREET CAPITAL MARKETS                                                                                            8
     [8]      BUYSELLSIGNALS RESEARCH                                                                                                8
     [9]      VALUENGINE, INC.                                                                                                       6
    [10]      SEEKING ALPHA                                                                                                          5
    [11]      CORPORATE WATCHDOG REPORTS                                                                                             2
    [12]      TIMETRIC COMPANY ANALYSIS                                                                                              1
    [13]      PRICETARGET RESEARCH                                                                                                   1
    [14]      VALIDEA                                                                                                                1
              Total                                                                                                                 173

Source: Investext.
Note: Many analyst reports are not available through third party data providers (e.g. Investext); therefore, this almost certainly understates the total
amount of analyst coverage. Meanwhile, there are a variety of internet-based subscriptions where investors can find other types of reports. For instance, on
the subscription-based website Seeking Alpha, there were 5 articles or reports for HIIQ under its "Analysis" section.
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                                                                                            Exhibit 5
                                                                    Coefficient from Rolling Event Study Regression for HIIQ
                                                                                       9/26/2016 - 3/6/2020

  3.0



  2.5



  2.0



  1.5



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                                                                                                                                                             S&P 500 Total Return Index Coefficient

Note: The results are based on a rolling regression of the previous 120 trading days. The regression model controls for a broad market index (S&P 500 Total Return Index).
Earnings announcements, pre-announcements, the alleged corrective disclosure dates, and ten outlier dates have been removed from estimation (i.e. November 10, 11, and 14,
2016 with regard to market volatility following the 2016 Presidential election, November 15 and 16, 2016, with regard to HIIQ's management change and guidance increase,
September 11, 2017, with regard to a report by Mox Reports, September 28, 2017, with regard to a report published on a Seeking Alpha blog, August 1, 2018, with regard to the
US Department of Health and Human Services expanding the sale of short-term insurance plans, and December 13 and 14, 2018, with regard to HIIQ announcing a multi-state
settlement and increased share buybacks.)
                                 Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 45 of 87 PageID 958



                                                                           Exhibit 6
                                                    Standard Deviation of the Errors for Rolling Event Study
                                                             Regression for HIIQ Common Stock
                                                                      9/26/2016 - 3/6/2020
0.060



0.050



0.040



0.030



0.020



0.010



0.000
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Note: The results are based on a rolling regression of the previous 120 trading days. The regression model controls for a broad market index (S&P 500 Total Return Index).
Earnings announcements, pre-announcements, the alleged corrective disclosure dates, and ten outlier dates have been removed from estimation (i.e. November 10, 11, and 14,
2016 with regard to market volatility following the 2016 Presidential election, November 15 and 16, 2016, with regard to HIIQ's management change and guidance increase,
September 11, 2017, with regard to a report by Mox Reports, September 28, 2017, with regard to a report published on a Seeking Alpha blog, August 1, 2018, with regard to the
US Department of Health and Human Services expanding the sale of short-term insurance plans, and December 13 and 14, 2018, with regard to HIIQ announcing a multi-state
settlement and increased share buybacks.)
                                Case 8:19-cv-00421-WFJ-CPT Document    71-1 7Filed 05/21/20 Page 46 of 87 PageID 959
                                                                     Exhibit
                                   Event Study Analysis of HIIQ Earnings Announcements and Pre-Announcements

                                                                                                                                          Rolling Regression Model (120-day window)

                       Market                                                                                        Closing    Raw     Abnormal    Abnormal                       Sig
#    Date     Time      Date           Event                                   Headline                               Price    Return    Return    Dollar Change t-Stat P-Value   Level

                                                  Health Insurance Innovations, Inc. Reports Record Third Quarter
1   11/2/16 4:01 PM 11/3/16      Q3 2016 Earnings 2016 Financial and Operating Results                                $6.15    6.03%     6.69%         $0.39      1.36    0.18
                                                  Source - GlobeNewswire


                                                  Health Insurance Innovations, Inc. Reports Record Fourth Quarter
2   3/1/17   4:01 PM   3/2/17    Q4 2016 Earnings and Fiscal 2016 Financial and Operating Results                    $17.60    -1.40%    -1.64%        -$0.29     -0.33   0.74
                                                  Source - GlobeNewswire


                                                  Health Insurance Innovations, Inc. Reports Record First Quarter
3   5/3/17   4:01 PM   5/4/17    Q1 2017 Earnings 2017 Financial and Operating Results                               $20.05    17.25%    16.72%        $2.86      3.60    0.00     ***
                                                  Source - GlobeNewswire


                                                  Health Insurance Innovations, Inc. Reports Record Second
4   8/2/17   4:01 PM   8/3/17    Q2 2017 Earnings Quarter 2017 Financial and Operating Results                       $29.60    9.63%     9.87%         $2.67      2.97    0.00     ***
                                                  Source - GlobeNewswire


                                                  Health Insurance Innovations, Inc. Announces Record Preliminary
                                      Q3 2017
5   10/16/17 8:15 AM 10/16/17                     Third Quarter 2017 Results                                         $21.10    11.64%    11.04%        $2.09      2.80    0.01     ***
                                 Pre-announcement
                                                  Source - GlobeNewswire


                                                  Health Insurance Innovations, Inc. Reports Record Third Quarter
6   11/1/17 4:05 PM 11/2/17      Q3 2017 Earnings 2017 Financial and Operating Results                               $20.25    -4.93%    -5.20%        -$1.11     -1.36   0.18
                                                  Source - GlobeNewswire


                                                  Health Insurance Innovations, Inc. Reports Record Fourth Quarter
7   2/28/18 4:05 PM    3/1/18    Q4 2017 Earnings and Fiscal 2017 Financial and Operating Results                    $32.55    4.33%     6.29%         $1.96      1.49    0.14
                                                  Source - GlobeNewswire


                                                  Health Insurance Innovations, Inc. Reports First Quarter 2018
8   5/2/18   4:05 PM   5/3/18    Q1 2018 Earnings Financial and Operating Results                                    $28.70    3.80%     3.97%         $1.10      1.21    0.23
                                                  Source - GlobeNewswire


                                                  Health Insurance Innovations, Inc. Reports Second Quarter 2018
9   8/1/18   4:01 PM   8/2/18    Q2 2018 Earnings Financial and Operating Results                                    $44.15    16.03%    15.25%        $5.80      4.98    0.00     ***
                                                  Source - GlobeNewswire
                                          Case 8:19-cv-00421-WFJ-CPT Document    71-1 7Filed 05/21/20 Page 47 of 87 PageID 960
                                                                               Exhibit
                                             Event Study Analysis of HIIQ Earnings Announcements and Pre-Announcements

                                                                                                                                                                                             Rolling Regression Model (120-day window)

                                 Market                                                                                                                      Closing        Raw         Abnormal         Abnormal                                    Sig
 #       Date        Time         Date               Event                                                 Headline                                           Price        Return        Return         Dollar Change t-Stat P-Value                Level

                                               Health Insurance Innovations, Inc. Reports Third Quarter 2018
 10 10/29/18 4:02 PM 10/30/18 Q3 2018 Earnings Financial and Operating Results                                                                                $49.46        9.91%          7.42%               $3.34          2.48      0.01          **
                                               Source - GlobeNewswire


                                                               Health Insurance Innovations, Inc. Reports Strong Fourth Quarter
 11    3/6/19       4:01 PM      3/7/19       Q4 2018 Earnings and Fiscal 2018 Results and Expands Credit Facility                                            $37.84        7.78%          9.03%               $3.17          2.40      0.02          **
                                                               Source - GlobeNewswire


                                                               Health Insurance Innovations, Inc. Reports First Quarter 2019
 12    5/6/19       4:05 PM      5/7/19       Q1 2019 Earnings Results                                                                                        $21.94      -15.13%         -12.67%             -$3.28          -3.23     0.00          ***
                                                               Source - GlobeNewswire


                                                               Health Insurance Innovations, Inc. Reports Second Quarter 2019
 13    8/5/19       4:03 PM      8/6/19       Q2 2019 Earnings Results and Additional Investments in Product Diversification                                  $22.04        9.11%          6.10%               $1.23          1.60      0.11
                                                               Source - GlobeNewswire


                                               Health Insurance Innovations, Inc. Reports Third Quarter 2019
 14 11/12/19 4:10 PM 11/13/19 Q3 2019 Earnings Results                                                                                                        $24.64        5.89%          5.94%               $1.38          1.57      0.12
                                               Source - GlobeNewswire


                                                              HIIQ Announces Extension of Strategic Alternatives Review &
                                                  Q4 2019
 15    1/13/20 8:30 AM 1/13/20                                Preliminary fourth quarter and fiscal year 2019 financial results                               $18.94        3.13%          2.64%               $0.48          0.59      0.56
                                             Pre-announcement
                                                              Source - GlobeNewswire

                                                               Health Insurance Innovations, Inc. Reports Fourth Quarter and
                                                               Fiscal 2019 Results; Also Announces Name Change to Benefytt
 16    3/3/20       4:01 PM      3/4/20       Q4 2019 Earnings                                                                                                $25.67       -8.62%         -13.54%             -$3.80          -3.21     0.00          ***
                                                               Technologies to Reflect Go-Forward Business Strategy
                                                               Source - GlobeNewswire

Sources: S&P Capital IQ and Factiva.
Notes:
(1) The results are based on a rolling regression of the previous 120 trading days. The regression model controls for a broad market index (S&P 500 Total Return Index). Earnings announcements, pre-announcements, the alleged corrective disclosure dates,
and ten outlier dates have been removed from estimation (i.e. November 10, 11, and 14, 2016 with regard to market volatility following the 2016 Presidential election, November 15 and 16, 2016, with regard to HIIQ's management change and guidance
increase, September 11, 2017, with regard to a report by Mox Reports, September 28, 2017, with regard to a report published on a Seeking Alpha blog, August 1, 2018, with regard to the US Department of Health and Human Services expanding the sale of
short-term insurance plans, and December 13 and 14, 2018, with regard to HIIQ announcing a multi-state settlement and increased share buybacks.)
(2) "***" Denotes statistical significance at the 99% confidence level or greater. "**" Denotes statistical significance at the 95% confidence level or greater. "*" Denotes statistical significance at the 90% confidence level or greater.
                                    Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 48 of 87 PageID 961



                                                                     Exhibit 8A
                                                      HIIQ Common Stock Intraday Price and Volume
                                                                      11/3/2016
        $8.00                                                                                                                        16
                             11/2/2016                                    Return Abn. Return t-Stat
                           4:00 pm - $5.80                                6.03%     6.69%     1.36
                          NASDAQ Close
                                                                                                                     11/3/2016       14
                                                  11/2/2016 4:01 pm                                                4:00 pm - $6.15
                                                 HIIQ releases earnings                                           NASDAQ Close
                                                     for Q3 2016.
        $7.00                                                                                                                        12
                                                    11/3/2016 8:30 am
                                                       HIIQ Q3 2016




                                                                                                                                          Volume (in thousands)
                                                      conference call.
                                                                                                                                     10
Price




        $6.00                                                                                                                        8


                                                                      11/3/2016
                                                                    9:30 am - $6.29                                                  6
                                                                   NASDAQ Open


        $5.00                                                                                                                        4



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 Source: TICK Data.
                                       Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 49 of 87 PageID 962



                                                                       Exhibit 8B
                                                        HIIQ Common Stock Intraday Price and Volume
                                                                        3/2/2017
        $20.00                                                                                                                        60
                              3/1/2017                                       Return Abn. Return t-Stat
                           4:00 pm - $17.85                                   -1.40%  -1.64%     -0.33
                           NASDAQ Close                                                                               3/2/2017
                                                                                                                   4:00 pm - $17.60
                                                      3/1/2017 4:01 pm
                                                                                                                   NASDAQ Close       50
                                                    HIIQ releases earnings
        $19.00                                          for Q4 2016.


                                                         3/2/2017 8:30 am
                                                           HIIQ Q4 2016
                                                                                                                                      40




                                                                                                                                           Volume (in thousands)
                                                          conference call.

        $18.00
Price




                                                                 3/2/2017                                                             30
                                                              9:30 am - $18.56
                                                              NASDAQ Open
        $17.00

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        $16.00
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 Source: TICK Data.
                                       Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 50 of 87 PageID 963



                                                                                 Exhibit 8C
                                                                  HIIQ Common Stock Intraday Price and Volume
                                                                                  5/4/2017
        $23.00                                                                                                                        60
                              5/3/2017                                          Return Abn. Return t-Stat
                           4:00 pm - $17.10                                     17.25%   16.72%     3.60
                           NASDAQ Close                                                                               5/4/2017
        $22.00                                                                                                     4:00 pm - $20.05
                                                                                                                   NASDAQ Close       50
                                         5/3/2017 4:01 pm
                                       HIIQ releases earnings
        $21.00                             for Q1 2017.


                                              5/4/2017 8:30 am                                                                        40




                                                                                                                                           Volume (in thousands)
                                                HIIQ Q1 2017
        $20.00                                 conference call.
Price




        $19.00                                                                                                                        30

                                                       5/4/2017
                                                    9:30 am - $19.10
        $18.00                                      NASDAQ Open
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                                       Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 51 of 87 PageID 964



                                                                        Exhibit 8D
                                                         HIIQ Common Stock Intraday Price and Volume
                                                                         8/3/2017
        $33.00                                                                                                                         60
                              8/2/2017                                          Return Abn. Return t-Stat
                           4:00 pm - $27.00                                      9.63%    9.87%     2.97
                           NASDAQ Close                                                                                8/3/2017
        $32.00                                                                                                      4:00 pm - $29.60
                                                      8/2/2017 4:01 pm
                                                                                                                    NASDAQ Close       50
                                                    HIIQ releases earnings
                                                        for Q2 2017.
        $31.00
                                                       8/3/2017 8:30 am
                                                         HIIQ Q2 2017
                                                        conference call.                                                               40




                                                                                                                                            Volume (in thousands)
        $30.00
Price




        $29.00                                                                                                                         30



        $28.00                                                  8/3/2017
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                                                             NASDAQ Open

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                                        Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 52 of 87 PageID 965



                                                                          Exhibit 8E
                                                           HIIQ Common Stock Intraday Price and Volume
                                                                          10/16/2017
        $25.00                                                                                                                          80
                             10/13/2017                                         Return Abn. Return t-Stat
                           4:00 pm - $18.90                                     11.64% 11.04%       2.80
                           NASDAQ Close                                                                                10/16/2017
        $24.00                                         10/16/2017 8:15 AM                                            4:00 pm - $21.10   70
                                                          HIIQ releases                                              NASDAQ Close
                                                     preliminary earnings for
                                                            Q3 2017.
        $23.00                                                                                                                          60
                                                              10/16/2017
                                                            9:30 am - $21.33




                                                                                                                                             Volume (in thousands)
                                                            NASDAQ Open
        $22.00                                                                                                                          50
Price




        $21.00                                                                                                                          40



        $20.00                                                                                                                          30



        $19.00                                                                                                                          20



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 Source: TICK Data.
                                       Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 53 of 87 PageID 966



                                                                                Exhibit 8F
                                                                 HIIQ Common Stock Intraday Price and Volume
                                                                                 11/2/2017
        $25.00                                                                                                                         60
                              11/1/2017                                            Return Abn. Return t-Stat
                           4:00 pm - $21.30                                        -4.93%   -5.20%    -1.36
                           NASDAQ Close
        $24.00
                                                                                                                                       50
                                         11/1/2017 4:05 pm
                                        HIIQ releases earnings
                                            for Q3 2017.
        $23.00
                                                                                                                                       40




                                                                                                                                            Volume (in thousands)
                                                                                                                       11/2/2017
                                                                         11/2/2017                                  4:00 pm - $20.25
                                                                      9:30 am - $22.17                              NASDAQ Close
        $22.00                                                        NASDAQ Open
Price




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        $21.00
                                              11/2/2017 8:30 am
                                                 HIIQ Q3 2017
                                                conference call.                                                                       20
        $20.00



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        $19.00




        $18.00                                                                                                                         0
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 Source: TICK Data.
                                     Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 54 of 87 PageID 967



                                                                                Exhibit 8G
                                                                 HIIQ Common Stock Intraday Price and Volume
                                                                                 3/1/2018
        $38.00                                                                                                                       120
                              2/28/2018                                              Return Abn. Return t-Stat
                           4:00 pm - $31.20                                           4.33%   6.29%      1.49
                           NASDAQ Close
        $37.00
                                         2/28/2018 4:05 pm                                                                           100
                                        HIIQ releases earnings
                                            for Q4 2017.
        $36.00

                                                                                                                                     80




                                                                                                                                           Volume (in thousands)
                                                                                                                     3/1/2018
                                                                     3/1/2018                                     4:00 pm - $32.55
        $35.00                                                    9:30 am - $35.56                                NASDAQ Close
                                                                  NASDAQ Open
Price




        $34.00                                                                                                                       60



        $33.00
                                       3/1/2018 8:30 AM
                                         HIIQ Q4 2017                                                                                40
                                        conference call.
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                                       Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 55 of 87 PageID 968



                                                                            Exhibit 8H
                                                             HIIQ Common Stock Intraday Price and Volume
                                                                             5/3/2018
        $30.00                                                                                                                         60
                              5/2/2018                                    Return Abn. Return t-Stat
                           4:00 pm - $27.65                                3.80%   3.97%     1.21
        $29.00             NASDAQ Close

                                     5/2/2018 4:05 pm                                                                                  50
        $28.00                     HIIQ releases earnings
                                       for Q1 2018.

        $27.00                        5/3/2018 8:30 AM
                                                                                                                                       40




                                                                                                                                            Volume (in thousands)
                                        HIIQ Q1 2018                                                                   5/3/2018
                                       conference call.                                                             4:00 pm - $28.70
        $26.00                                                                                                      NASDAQ Close

                                             5/3/2018
Price




                                          9:30 am - $25.85
        $25.00                            NASDAQ Open                                                                                  30


        $24.00

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        $23.00


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                                       Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 56 of 87 PageID 969



                                                                               Exhibit 8I
                                                               HIIQ Common Stock Intraday Price and Volume
                                                                                8/2/2018
        $45.00                                                                                                                         60
                              8/1/2018                                      Return Abn. Return t-Stat
                           4:00 pm - $38.05                                 16.03% 15.25%       4.98
                           NASDAQ Close
        $44.00
                                                8/1/2018 4:01 pm
                                                                                                                                       50
                                              HIIQ releases earnings
                                                  for Q2 2018.
        $43.00

                                                                                                                                       40




                                                                                                                                            Volume (in thousands)
                                                                                                                       8/2/2018
        $42.00                                                                                                      4:00 pm - $44.15
                                                                                                                    NASDAQ Close
Price




        $41.00                                              8/2/2018                                                                   30
                                                         9:30 am - $41.22
                                                         NASDAQ Open

        $40.00
                                                  8/2/2018 8:30 am                                                                     20
                                                    HIIQ Q2 2018
        $39.00                                     conference call.


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                                       Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 57 of 87 PageID 970



                                                                                   Exhibit 8J
                                                                   HIIQ Common Stock Intraday Price and Volume
                                                                                  10/30/2018
        $52.00                                                                                                                        140
                             10/29/2018                                                Return Abn. Return t-Stat
                           4:00 pm - $45.00                                             9.91%   7.42%      2.48
        $51.00             NASDAQ Close
                                                                                                                                      120
                                               10/29/2018 4:02 pm
        $50.00                                HIIQ releases earnings
                                                  for Q3 2018.

                                                                                                                                      100
        $49.00




                                                                                                                                            Volume (in thousands)
                                                     10/30/2018 8:30 am
                                                        HIIQ Q3 2018
        $48.00                                         conference call.
                                                                                                                                      80
Price




        $47.00
                                                                                                                     10/30/2018
                                                                                                                   4:00 pm - $49.46   60
        $46.00                                                                                                     NASDAQ Close


        $45.00
                                                                                                                                      40
                                                                            10/30/2018
        $44.00                                                            9:30 am - $47.25
                                                                          NASDAQ Open
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        $43.00


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                                     Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 58 of 87 PageID 971



                                                                            Exhibit 8K
                                                             HIIQ Common Stock Intraday Price and Volume
                                                                             3/7/2019
        $43.00                                                                                                                    200
                          3/6/2019                                                 Return Abn. Return t-Stat
                       4:00 pm - $35.11                                             7.78%   9.03%      2.40
                       NASDAQ Close                                                                                               180
        $42.00
                                                                                                                  3/7/2019
                                   3/6/2019 4:01 pm                                                            4:00 pm - $37.84
                                 HIIQ releases earnings                                                                           160
        $41.00                                                                                                 NASDAQ Close
                                     for Q4 2018.
                                                                          3/7/2019
                                                                       9:30 am - $40.52                                           140
        $40.00                                                         NASDAQ Open




                                                                                                                                        Volume (in thousands)
                                                                                                                                  120
        $39.00
Price




                                                                                                                                  100
        $38.00
                                                                                                                                  80
                                                   3/6/2019 5:00 pm
                                                     HIIQ Q4 2018
        $37.00
                                                    conference call.
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                                       Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 59 of 87 PageID 972



                                                                           Exhibit 8L
                                                            HIIQ Common Stock Intraday Price and Volume
                                                                            5/7/2019
        $28.00                                                                                                                     150
                              5/6/2019                                       Return Abn. Return t-Stat
                           4:00 pm - $25.85                                  -15.13% -12.67% -3.23
                           NASDAQ Close
        $27.00
                                     5/6/2019 4:05 pm
                                   HIIQ releases earnings                                                                          120
                                                                                                                   5/7/2019
                                       for Q1 2019.             5/6/2019 5:00 pm
        $26.00                                                                                                  4:00 pm - $21.94
                                                                  HIIQ Q1 2019
                                                                                                                NASDAQ Close
                                                                 conference call.




                                                                                                                                         Volume (in thousands)
        $25.00
                                                                                                                                   90
Price




        $24.00


                                                                                                                                   60
        $23.00


                                       5/7/2019
        $22.00                      9:30 am - $24.08
                                    NASDAQ Open
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                                    Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 60 of 87 PageID 973



                                                                            Exhibit 8M
                                                             HIIQ Common Stock Intraday Price and Volume
                                                                             8/6/2019
        $24.00                                                                                                                    50
                              8/5/2019                                      Return Abn. Return t-Stat
                           4:00 pm - $20.20                                  9.11%   6.10%     1.60
                           NASDAQ Close                                                                                           45
                                                                                                                  8/6/2019
                                                                                                               4:00 pm - $22.04
                                  8/5/2019 4:03 pm                                                             NASDAQ Close
                                HIIQ releases earnings                                                                            40
        $23.00                      for Q2 2019.

                                                                                                                                  35




                                                                                                                                       Volume (in thousands)
                                              8/5/2019 5:00 pm
                                                HIIQ Q2 2019
                                                                                                                                  30
                                               conference call.
Price




        $22.00                                                                                                                    25
                                                            8/6/2019
                                                         9:30 am - $22.05
                                                         NASDAQ Open                                                              20


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                                      Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 61 of 87 PageID 974



                                                                              Exhibit 8N
                                                               HIIQ Common Stock Intraday Price and Volume
                                                                              11/13/2019
        $27.00                                                                                                                    50
                         11/12/2019                                         Return Abn. Return t-Stat
                       4:00 pm - $23.27                                      5.89%   5.94%      1.57
                       NASDAQ Close                                                                                               45

        $26.00              11/12/2019 4:10 pm
                           HIIQ releases earnings
                                                                                                                                  40
                               for Q3 2019.

                                    11/12/2019 5:00 pm
                                       HIIQ Q3 2019                                                                               35
        $25.00




                                                                                                                                       Volume (in thousands)
                                      conference call.

                                                      11/13/2019                                                                  30
                                                    9:30 am - $24.47
Price




                                                    NASDAQ Open
        $24.00                                                                                                                    25


                                                                                                                 11/13/2019       20
                                                                                                               4:00 pm - $24.64
        $23.00                                                                                                 NASDAQ Close
                                                                                                                                  15


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        $22.00

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                                    Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 62 of 87 PageID 975



                                                                            Exhibit 8O
                                                             HIIQ Common Stock Intraday Price and Volume
                                                                             1/13/2020
        $21.00                                                                                                                50
                              1/10/2020                                   Return Abn. Return t-Stat
                           4:00 pm - $18.36                                3.13%   2.64%      0.59
                           NASDAQ Close                                                                                       45

        $20.50
                                    1/13/2020 8:30 am                                                                         40
                                      HIIQ releases
                                 preliminary earnings for
                                        Q4 2019.                                                                              35
        $20.00




                                                                                                                                   Volume (in thousands)
                                                                                                              1/13/2020
                                                                                                           4:00 pm - $18.94   30
                                                                                                           NASDAQ Close
Price




        $19.50                                                                                                                25


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                                                         1/13/2020
        $19.00                                        9:30 am - $19.01
                                                      NASDAQ Open                                                             15


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                                    Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 63 of 87 PageID 976



                                                                         Exhibit 8P
                                                          HIIQ Common Stock Intraday Price and Volume
                                                                          3/4/2020
        $34.00                                                                                                              200
                          3/3/2020                                           Return Abn. Return t-Stat
                       4:00 pm - $28.09                                      -8.62% -13.54% -3.21
                       NASDAQ Close                                                                                         180
        $32.00

                                                                                                                            160
                                  3/3/2020 4:01 pm
                                HIIQ releases earnings
        $30.00                      for Q4 2019.
                                                                                                                            140
                                                         3/4/2020 9:00 am




                                                                                                                                  Volume (in thousands)
                                                           HIIQ Q4 2020
                                                          conference call.                                                  120
        $28.00
Price




                                                                  3/4/2020
                                                               9:30 am - $26.40                                             100
                                                               NASDAQ Open
        $26.00
                                                                                                                            80


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        $24.00
                                                                                                            3/4/2020
                                                                                                         4:00 pm - $25.67
                                                                                                         NASDAQ Close       40

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                             12:28 PM
                             12:36 PM
                             12:44 PM
                             12:52 PM
                             1:00 PM
                             1:08 PM
                             1:16 PM
                             1:24 PM
                             1:32 PM
                             1:40 PM
                             1:48 PM
                             1:56 PM
                             2:04 PM
                             2:12 PM
                             2:20 PM
                             2:28 PM
                             2:36 PM
                             2:44 PM
                             2:52 PM
                             3:00 PM
                             3:08 PM
                             3:16 PM
                             3:24 PM
                             3:32 PM
                             3:40 PM
                             3:48 PM
                             3:56 PM
 Source: TICK Data.
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                                                             Exhibit 9
                  Comparison of Statistical Significance and Abnormal Returns
                             for HIIQ Earnings Announcements
                      vs. Days with No News during the Analysis Period



                                                          Earnings                        Days with No News,
                       Statistic                       Announcements                  Analyst Reports, or SEC Filings

                          N (1)                                  16                                      224


             Significant Days at 95%
                                                                  8                                       12
                Confidence Level

           % Significant Days at 95%
                                                              50.00%                                    5.36%
              Confidence Level (2)

                Average Absolute
                                                               8.38%                                    2.71%
               Abnormal Return (3)

                                             (4)
         Average Volume (Millions)                               1.8                                      0.4

        Notes:
        (1) Results are based on the Analysis Period. For the purposes of this analysis, I selected the 224 days with no news.
        Days with no news were days that had zero news articles via the Factiva database, no analyst reports, no SEC
        filings were issued, no press releases were issued by the Company, and no news or reports were mentioned in the
        Complaint.
        (2) 50.00% rate of statistical significance is statistically significantly different than 5.36% at the 99% confidence level
        using either a Chi-Square test or Fisher's Exact test.
        (3) 8.38% absolute return is statistically significantly different than 2.71% based on a t-test for difference of means at
        the 99% confidence level.
        (4) The difference between 1.8 million and 0.4 million is statistically significant at the 99% confidence level.
                                                                                                                                                                                                                              04/18/19
                                                                                                                                                                                                                              04/03/19
                                                                                                                                                                                                                              03/19/19
                                                                                                                                                                                                                              03/04/19
                                                                                                                                                                                                                              02/17/19
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                                                                                                                                                                                                                              02/02/19
                                                                                                                                                                                                                              01/18/19
                                                                                                                                                                                                                              01/03/19
                                                                                                                                                                                                                              12/19/18
                                                                                                                                                                                                                              12/04/18
                                                                                                                                                                                                                              11/19/18
                                                                                                                                                                                                                              11/04/18
                                                                                   HIIQ Common Stock Market Capitalization




                                                                                                                                                                                                                              10/20/18
                                                                                                                                                                                                                              10/05/18
                                                                                                                                                                                                                              09/20/18


                                                                                                                                                                                                                                         Class A Market Capitalization
                                                                                                                                                                                                                              09/05/18
                                                                                                                                                                                                                              08/21/18
                                                                                            9/25/2017 - 4/30/2019




                                                                                                                                                                                                                              08/06/18
                                                                                                                                                                                                                              07/22/18
                                                                                                 Exhibit 10




                                                                                                                                                                                                                              07/07/18
                                                                                                                                                                                                                              06/22/18
                                                                                                                                                                                                                              06/07/18
                                                                                                                                                                                                                              05/23/18
                                                                                                                                                                                                                              05/08/18
                                                                                                                                                                                                                              04/23/18
                                                                                                                                                                                                                              04/08/18
                                                                                                                                                                                                                              03/24/18
                                                                                                                                                                                                                              03/09/18




                                                                                                                                                                                                                                                                         Sources: Complaint, SEC Filings, and S&P Capital IQ.
                                                                                                                                                                                                                              02/22/18
                                                                                                                             Class Period: 9/25/2017 - 4/11/2019




                                                                                                                                                                                                                              02/07/18
                                                                                                                                                                                                                              01/23/18
                                                                                                                                                                                                                              01/08/18
                                                                                                                                                                                                                              12/24/17
                                                                                                                                                                                                                              12/09/17
                                                                                                                                                                                                                              11/24/17
                                                                                                                                                                                                                              11/09/17
                                                                                                                                                                                                                              10/25/17
                                                                                                                                                                                                                              10/10/17
                                                                                                                                                                                                                              09/25/17

                                                                                                                         $1.2




                                                                                                                                                                   $1.0




                                                                                                                                                                          $0.8




                                                                                                                                                                                     $0.6




                                                                                                                                                                                                  $0.4




                                                                                                                                                                                                                $0.2




                                                                                                                                                                                                                       $0.0
                                                                                                                                                                          Market Capitalization (in billions)
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                                    Exhibit 11
                               HIIQ Common Stock
                           Market Capitalization Rankings


                                                                      Class A
                                                   Class A Market    Percentile
                                                   Capitalization Rank on NYSE
                   Last trading day of:              (millions)(1) and NASDAQ
                           Q3 2017                      $180.80               24%
                           Q4 2017                      $313.36               32%
                           Q1 2018                      $356.94               35%
                           Q2 2018                      $405.47               38%
                           Q3 2018                      $845.08               50%
                           Q4 2018                      $331.11               39%
                           Q1 2019                      $332.23               38%
              Source: Bloomberg, S&P Capital IQ, and SEC filings.
              (1) Class A market capitalization is based on shares outstanding from SEC
              filings.
              (2) Percentile rankings are based on market capitalization from Bloomberg.
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                                                                                     Exhibit 12
                                                             HIIQ Common Stock Average Monthly Bid-Ask Percentage Spread
                                                                                9/25/2017 - 4/11/2019
                              2.00%


                              1.80%


                              1.60%
                                       Average Percentage Bid-Ask Spread for a
                                       Randomly Selected Group of 100 Common
                                       Stocks Trading on the NYSE and NASDAQ in
Percentage Spread per Share




                              1.40%
                                       November 2017: 1.87%


                              1.20%
                                       Median Percentage Bid-Ask Spread for a
                                       Randomly Selected Group of 100 Common
                              1.00%    Stocks Trading on the NYSE and NASDAQ
                                       in November 2017: 0.59%

                              0.80%


                              0.60%


                              0.40%


                              0.20%


                              0.00%
                                      Sep Oct Nov Dec Jan      Feb Mar Apr May Jun       Jul Aug Sep Oct Nov Dec Jan       Feb Mar Apr
                                      2017 2017 2017 2017 2018 2018 2018 2018 2018 2018 2018 2018 2018 2018 2018 2018 2019 2019 2019 2019
             Source: Thomson Reuters Eikon and TICK Data.
             Note: September 2017 and April 2019 data are limited to the Class Period.
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                                                                   Exhibit 13
                                 HIIQ Common Stock Shares Outstanding, Insider Holdings, and Institutional Holdings

                                                                                                                                                                Total            Institutional Institutional
                          Shares                 Total                Insider             Short                                    Insider Holdings         Institutional       Holdings % of Holdings %
                        Outstanding           Institutions           Holdings           Interest             Public Float            % of Shares              Holdings              Shares       of Public
      Date               (in 000s)           Owning Stock            (in 000s)          (in 000s)             (in 000s)              Outstanding              (in 000s)         Outstanding        Float
        [1]                   [2]                   [3]                  [4]                [5]           [6] = [2] + [5] - [4]        [7] = [4] / [2]            [8]             [9] = [8] / [2]   [10] = [8] / [6]


   9/30/2017                12,560                  149                 1,544             2,767                  13,783                   12.29%                11,922               94.92%            86.50%


  12/31/2017                12,351                  137                  753              4,417                  16,016                   6.10%                 13,617              110.25%            85.02%


   3/31/2018                12,534                  157                  822              3,926                  15,637                   6.56%                 13,248              105.70%            84.72%


   6/30/2018                13,708                  171                  831              3,920                  16,797                   6.06%                 14,995              109.39%            89.27%


   9/30/2018                13,515                  185                  826              2,729                  15,418                   6.11%                 14,203              105.09%            92.12%


  12/31/2018                12,387                  177                  844              5,911                  17,454                   6.81%                 17,210              138.93%            98.60%


   3/31/2019                11,513                  170                 1,207             8,490                  18,795                   10.49%                17,017              147.81%            90.54%


Total Institutions over Class Period:               316                                                Class Period Average:              7.77%                                     116.01%            89.54%

Sources: S&P Capital IQ and SEC filings.

(1) S&P Capital IQ updates short interest every two weeks while updates to institutional holdings via 13-F filings are only available every quarter; therefore, occasionally the time difference in data updates
may cause institutional holdings to appear to exceed shares outstanding and the public float.
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                                              Exhibit 14
                                        HIIQ Common Stock
                           Test for Autocorrelation During the Class Period

                                      Coefficient on Previous
            Quarter                  Day's Abnormal Return(2)                       t-Statistic                  Significance(3)
            Q3 2017                                -0.58                               -1.13
            Q4 2017                                 0.07                                0.53
            Q1 2018                                 0.07                                0.52
            Q2 2018                                -0.22                               -1.79                              *
            Q3 2018                                 0.30                                2.43                             **
            Q4 2018                                -0.36                               -2.99                            ***
            Q1 2019                                -0.03                               -0.21
            Q2 2019                                 0.13                                0.36

         Class Period                              -0.03                               -0.69


Source: S&P Capital IQ.
Notes:
(1) I also found no evidence of autocorrelation during the Analysis Period. The Analysis Period runs from 9/26/2016 through
3/6/2020.
(2) For each quarter I perform a regression with the abnormal return from the event study as the dependent variable and the
previous day's abnormal return as the independent variable.
(3) "***" Denotes statistical significance at the 99% confidence level or greater. "**" Denotes statistical significance at the 95%
confidence level or greater. "*" Denotes statistical significance at the 90% confidence level or greater.
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                                   Appendix A
                               Documents Considered
  Court Documents
     •   Consolidated Class Action Complaint for Violations of the Federal Securities Laws filed
         July 19, 2019, in JULIAN KEIPPEL, Individually and on Behalf of All Others Similarly
         Situated, vs. HEALTH INSURANCE INNOVATIONS INC., GAVIN SOUTHWELL,
         and MICHAEL D. HERSHBERGER, NO. 8:19-cv-00421-WFJ-CPT.
     •   Defendants’ Responses and Objections to Lead Plaintiffs’ First Set of Requests for
         Adissions[sic] filed January 22, 2020, in JULIAN KEIPPEL, Individually and on Behalf
         of All Others Similarly Situated, vs. HEALTH INSURANCE INNOVATIONS INC.,
         GAVIN SOUTHWELL, and MICHAEL D. HERSHBERGER, NO. 8:19-cv-00421-WFJ-
         CPT.
     •   Defendant Steven Dorfman’s Memorandum in Opposition to A Prelininary [sic]
         Injunction filed March 25, 2019, in Federal Trade Commission, vs. Simple Health Plans
         LLC, et al, No. 0:18-cv-62593-DPG.
     •   Receiver’s First Interim Report filed April 12, 2019, in Federal Trade Commission, vs.
         Simple Health Plans LLC, et al, No. 0:18-cv-62593-GAYLES.

  Court Decisions and Securities Law
     •   Basic, Inc. v. Levinson, 485 U.S. 224 (1988).
     •   Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud, § 8.6. (Aug. 1988).
     •   Cammer, et al., v. Bruce M. Bloom, et al., 711 F. Supp. 1264 (D.N.J. 1989).
     •   Halliburton Co., et al., v. Erica P. John Fund, Inc., 134 S. Ct. 2398 (2014).
     •   Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001).
     •   Private Securities Litigation Reform Act of 1995, dated December 22, 1995.

  SEC Filings
     •   Health Insurance Innovations, Inc. SEC Form 10-K filings submitted throughout the
         Analysis Period.
     •   Health Insurance Innovations, Inc. SEC Form 10-Q filings submitted throughout the
         Analysis Period.
     •   Health Insurance Innovations, Inc. SEC Form 8-K filings submitted during the Analysis
         Period, including but not limited to:
             o Form 8-K filed December 13, 2018
     •   Health Insurance Innovations, Inc. SEC Form S-3 filed on May 5, 2017.
     •   Health Insurance Innovations, Inc. Def 14-A Proxy Statements for the fiscal years in the
         Class Period.
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  Security Data
     •   Historical data for Health Insurance Innovations, Inc. Common Stock, the S&P 500 Total
         Return Index, Dow Jones – Internet Composite Index, and the S&P Americas BMI
         Insurance (Industry Group) Total Return Index were obtained from S&P Capital IQ.
     •   Trade and quote data for Health Insurance Innovations, Inc. Common Stock during the
         Class Period and one hundred randomly selected companies trading on the New York
         Stock Exchange and NASDAQ for November 2017 were obtained from Tick Data, see
         https://tickapi.tickdata.com/. Companies trading on the New York Stock Exchange and
         NASDAQ for November 2017 were identified using Thomson Reuters Eikon.
     •   Institutional and insider holdings data was obtained from S&P Capital IQ.
     •   Health Insurance Innovations, Inc. Common Stock options data was obtained from
         iVolatility.
     •   Health Insurance Innovations, Inc. Common Stock market makers data was obtained
         from Bloomberg, using the RANK function.
     •   Health Insurance Innovations, Inc. Common Stock market capitalization percentiles were
         obtained from Bloomberg.
     •   Turnover velocity data for NYSE and NASDAQ were obtained from the World
         Federation of Exchanges, see https://www.world-
         exchanges.org/home/index.php/statistics/monthly-reports.

  Health Insurance Innovations, Inc. News
     •   Health Insurance Innovations, Inc. news headlines and select articles downloaded from
         Factiva for the Analysis Period. The 738 unique articles for the Class Period (“September
         25, 2017 – April 11, 2019”) were identified as a result of a search for “All Sources” with
         the company field “Benefytt Technologies Inc.” or keyword field “Health Insurance
         Innovations”. HIIQ changed its name to Benefytt Technologies on March 6, 2020. The
         1,593 unique articles for the Analysis Period (“September 26, 2016 – March 6, 2020”)
         were identified using the same search criteria. Duplicate articles have been removed by a
         proprietary function accessible in Factiva’s search builder.
     •   Health Insurance Innovations, Inc. earnings conference call and investor call transcripts
         during the Analysis Period, including but not limited to:
             o “FQ4 2017 Earnings Call Transcripts,” S&P Capital IQ, March 1, 2018.
     •   Health Insurance Innovations, Inc. earnings and other press releases during the Analysis
         Period, including but not limited to:
             o “Health Insurance Innovations, Inc. Reports Third Quarter 2018 Financial and
                 Operating Results,” Globe Newswire, October 29, 2018.
             o “Health Insurance Innovations, Inc. Has Been Officially Renamed Benefytt
                 Technologies, Inc.,” Globe Newswire, March 6, 2020.
             o “Health Insurance Innovations, Inc. Appoints Gavin Southwell as Chief Executive
                 Officer, Raises 2016 Guidance,” Globe Newswire, November 15, 2016.
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            o    “Federal Government Ends 3-Month Restriction on Short-Term Health
                Insurance,” PR Newswire, August 1, 2018.
     •   “Health Insurance Innovations: Penalties To Exceed $100 Million And Undisclosed
         ‘Domino Effect’,” Seeking Alpha, September 11, 2017.
     •   “HIIQ: 100% Downside on Problematic Broker Relationships,” Seeking Alpha,
         September 28, 2017.

  Health Insurance Innovations, Inc. Analyst Reports
     •   Health Insurance Innovations, Inc. analyst reports supplied by Investext via Thomson
         Reuters for the period of September 26, 2016 – March 6, 2020, including but not limited
         to:
             o “Another Strong Quarter; Moves Closer to Closing Multi-State Review;
                Overweight,” Cantor Fitzgerald, October 29, 2018.
     •   Seeking Alpha articles or reports for Health Insurance Innovations, Inc. published during
         the Analysis Period under the site’s “Analysis” section.

  Academic Articles
     •   Aharony, J., and Swary, I., “Quarterly Dividend and Earnings Announcements and
         Stockholders’ Returns: An Empirical Analysis,” The Journal of Finance, Vol. 35, No. 1,
         March 1980.
     •   Amihud, Y., et al., Liquidity and Asset Prices, 1 FOUND. & TRENDS FIN. 269 (2005).
     •   Avramov, D., et al., Liquidity and Autocorrelations in Individual Stock Returns, 61 J. FIN.
         (2006).
     •   Barber, B., et al., The Fraud-on-the-Market Theory and the Indicators of Common
         Stocks’ Efficiency, 19 J. CORP. L. 285 (1994).
     •   Beaver, William H., “The Information Content of Annual Earnings Announcements,”
         Empirical Research in Accounting: Selected Studies, 1968, supplement to the Journal of
         Accounting Research, Vol. 6, 1968.
     •   Binder, J., The Event Study Methodology Since 1969, 11 REV. QUANTITATIVE FIN. &
         ACCT. (1998).
     •   Braun, P., et al., Good News, Bad News Volatility, and Betas, 50 J. FIN. 1575 (1995).
     •   Fabozzi, F., Modigliani, F., Jones, F., Foundations of Financial Markets and Institutions,
         Prentice Hall, Fourth Edition, 2010.
     •   Fama, E., Efficient Capital Markets: A Review of Theory and Empirical Work, 25 J. FIN.
         383 (1970).
     •   Greene, W., Econometric Analysis, Prentice Hall, Sixth Edition, 2008.
     •   Gujarati, D., Basic Econometrics, Third Edition, McGraw Hill, 1995.
     •   Huang, R., and Stoll, H., Dealer versus auction markets: A paired comparison of
         execution costs on NASDAQ and the NYSE, 41 J. FIN. ECON. 313 (1996).
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     •    Jensen, M., Some Anomalous Evidence Regarding Market Efficiency, 6 J. FIN. ECON. 95
          (1978).
     •    Kumar, R., et al., The Impact of Options Trading on the Market Quality of the Underlying
          Security: An Empirical Analysis, 53 J. FIN. 717 (1998).
     •    MacKinlay, A., Event Studies in Economics and Finance, 35 J. ECON. LITERATURE
          (1997).
     •    May, R., “The Influence of Quarterly Earnings Announcements on Investor Decisions as
          Reflected in Common Stock Price Changes,” Empirical Research in Accounting:
          Selected Studies, 1971, supplement to the Journal of Accounting Research, Vol. 9, 1971.
     •    Ross, S., Options and Efficiency, 90 Q. J. ECON. 75 (1976).
     •    Sharpe, W., Alexander, G., and Bailey, J., Investments, Prentice Hall, Fifth Edition, 1995.
     •    Tabak, D., and Dunbar, F., “Materiality and Magnitude: Event Studies in the
          Courtroom,” Ch. 19, Litigation Services Handbook, The Role of the Financial Expert,
          Third Edition, 2001.
     •    Thomas, R., and Cotter, J., Measuring Securities Market Efficiency in the Regulatory
          Setting, 63 LAW & CONTEMP. PROBS. 105 (2000).

  Other
     •    http://www.sec.gov/answers/mktmaker.htm.
     •    http://wallstreet.cch.com/LCM/Sections/
     •    https://www.nyse.com/market-model
     •    https://www.nasdaqtrader.com/Trader.aspx?id=TradingUSEquities
     •    http://www.rss-specifications.com/.
     •    http://www.rss-specifications.com/what-is-rss.htm.
     •    SEC Form S-3 eligibility information from www.sec.gov/about/forms/forms-3.pdf.
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                                      Appendix B
                                CHAD W. COFFMAN, MPP, CFA

Global Economics Group, LLC
140 South Dearborn Street, Suite 1000
Chicago, IL 60603
Office:       (312) 470-6500
Mobile:       (815) 382-0092
Email:        ccoffman@globaleconomicsgroup.com


EMPLOYMENT:

      Global Economics Group, LLC
            President (2008 - Current)

             Global Economics Group specializes in the application of economics, finance, statistics,
             and valuation principles to questions that arise in a variety of contexts, including
             litigation and policy matters throughout the world. With offices in Chicago, Boston, and
             New York, Principals of Global Economics Group have extensive experience in high-
             profile securities, antitrust, labor, and intellectual property matters.

      Market Platform Dynamics, LLC
           Chief Financial Officer & Chief Operating Officer (2010 – Current)

             Market Platform Dynamics is a management consulting firm that specializes in assisting
             platform-based companies profit from industry disruption caused by the introduction of
             new technologies, new business models and/or new competitive threats. MPD’s experts
             include economists, econometricians, product development specialists, strategic
             marketers and recognized thought leaders who apply cutting-edge research to the
             practical problems of building and running a profitable business.

      Chicago Partners, LLC
            Principal (2007 – 2008)
            Vice President (2003 – 2007)
            Director (2000 – 2003)
            Senior Associate (1999 – 2000)
            Associate (1997 – 1999)
            Research Analyst (1995 – 1997)


EDUCATION:

      CFA     Chartered Financial Analyst, 2003

      M.P.P. University of Chicago, 1997
             Masters of Public Policy, with a focus in economics including coursework in Finance,
             Labor Economics, Econometrics, and Regulation
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       B.A.      Knox College, 1995
                 Economics, Magna Cum Laude
                 Graduated with College Honors for Paper entitled “Increasing Efficiency in Water
                 Supply Pricing: Using Galesburg, Illinois as a Case Study”
                 Dean's List Every Term
                 Phi Beta Kappa


PROFESSIONAL EXPERIENCE:

Securities, Valuation, and Market Manipulation Cases:

•   Testifying Expert in numerous high-profile class action securities matters including, but not limited
    to:

       o In Re: Bank of America Corp. Securities, Derivative, and Employee Retirement Income
           Security Act (ERISA) Litigation. Parties settled for $2.4 billion in which I served as
           Plaintiffs’ damages and loss causation expert.
       o   In Re: Schering-Plough Corporation/ Enhance Securities Litigation. Parties settled for $473
           million in which I served as Plaintiffs’ damages and loss causation expert.
       o   In Re: REFCO Inc. Securities Litigation. Parties settled for $367 million in which I served
           as Plaintiffs’ damages and loss causation expert.
       o   In Re: Computer Sciences Corporation Securities Litigation. Parties settled for $98 million
           in which I served as Plaintiffs’ damages and loss causation expert.
       o   Full list of testimonial experience is provided below

•   Engaged several dozen times as a neutral expert by prominent mediators to evaluate economic
    analyses of other experts.

•   Expert consultant for the American Stock Exchange (AMEX) where I evaluated issues related to
    multiple listing of options. Performed econometric analysis of various measures of option spread
    using tens of millions of trades.

•   Performed detailed audit of CDO valuation models employed by a banking institution to satisfy
    regulators – non-litigation matter.

•   Played significant role in highly-publicized internal accounting investigations of two Fortune 500
    companies. One led to restatement of previously issued financial statements and both involved
    SEC investigations.

Testimony:

•   Testifying expert in the matter of Kuo, Steven Wu v. Xceedium Inc, Supreme Court of New York,
    County of New York, Index No. 06-100836. Filed report re: the fair value of Mr. Kuo’s shares.
    Case settled at trial.
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•   Testifying expert in the matter of Pallas, Dennis H. v. BPRS/Chestnut Venture Limited Partnership
    and Gerald Nudo, Circuit Court of Cook County, Illinois, County Department, Chancery Division.
    Filed report re: fair value of Pallas shares. Report: July 9, 2008. Deposition August 6, 2008. Court
    Testimony February 11, 2009.

•   Testifying expert in Washington Mutual Securities Litigation, United States District Court for the
    Western District of Washington at Seattle, No. 2:08-md-1919 MJP, Lead Case No. C08-387 MJP.
    Filed declaration August 5, 2008 re: Plaintiffs’ loss causation theory. Filed expert report April 30,
    2010. Filed expert rebuttal report August 4, 2010. Filed declaration re: Plan of Allocation
    September 25, 2011.

•   Testifying expert in DVI Securities Litigation, Case No. 2:03-CV-05336-LDD, United States
    District Court for the Eastern District of Pennsylvania. Filed expert report October 1, 2008 re:
    damages. Filed expert rebuttal report December 17, 2008. Deposition January 27, 2009. Filed
    expert rebuttal report June 24, 2013.

•   Testifying expert in Syratech Corporation v. Lifetime Brands, Inc. and Syratech Acquisition
    Corporation, Supreme Court of the State of New York, Index No. 603568/2007. Filed expert report
    October 31, 2008.

•   Expert declaration in Jacksonville Police and Fire Pension Fund, et al. v. AIG, Inc., et al., No. 08-
    CV-4772-LTS; James Connolly, et al. v. AIG, Inc., et al., No. 08-CV-5072-LTS; Maine Public
    Employees Retirement System, et al. v. AIG, Inc., et al., No. 08-CV-5464-LTS; and Ontario
    Teachers’ Pension Plan Board, et al. v. AIG, Inc., et al., No. 08-CV-5560-LTS, United States
    District Court for the Southern District of New York. Filed declaration February 18, 2009.

•   Expert declaration in Connetics Securities Litigation, Case No. C 07-02940 SI, United States
    District Court for the Northern District of California, San Francisco Division. Filed expert report
    March 16, 2009. Filed declaration re: Plan of Allocation September 9, 2009.

•   Testifying expert in Boston Scientific Securities Litigation, Master File No. 1:05-cv-11934 (DPW),
    United States District Court District of Massachusetts. Filed expert report August 6, 2009.
    Deposition October 6, 2009.

•   Expert declaration in Louisiana Sheriffs’ Pension and Relief Fund, et al. v. Merrill Lynch & Co,
    Inc., et al., Case Number 08-cv-09063, United States District Court for the Southern District of
    New York. Filed declaration re: Plan of Allocation October, 2009.

•   Testifying expert in Henry J. Wojtunik v. Joseph P. Kealy, John F. Kealy, Jerry A. Kleven, Richard
    J. Seminoff, John P. Stephen, C. James Jensen, John P. Morbeck, Terry W. Beiriger, and Anthony
    T. Baumann. Filed expert report January 25, 2010.

•   Testifying expert in REFCO Inc. Securities Litigation, Case No. 05 Civ. 8626 (GEL), United States
    District Court for the Southern District of New York. Filed expert report February 2, 2010. Filed
    expert rebuttal report March 12, 2010. Deposition March 26, 2010.
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•   Expert declaration in New Century Securities Litigation, Case No. 07-cv-00931-DDP, United
    States District Court Central District of California. Filed declaration March 11, 2010.

•   Testifying expert in Louisiana Municipal Police Employees’ Retirement System, et al. v. Tilman J.
    Fertitta, Steven L. Scheinthal, Kenneth Brimmer, Michael S. Chadwick, Michael Richmond, Joe
    Max Taylor, Fertitta Holdings, Inc., Fertitta Acquisition Co., Richard Liem, Fertitta Group, Inc.
    and Fertitta Merger Co, C.A. No. 4339-VCL, Court of Chancery of the State of Delaware. Filed
    expert report April 23, 2010.

•   Testifying expert in Edward E. Graham and William C. Nordlund, individually and d/b/a Silver
    King Capital Management v. Eton Park Capital Management, L.P., Eton Park Associates, L.P. and
    Eton Park Fund, L.P. Case No. 1:07-CV-8375-GBD, Circuit Court of Shelby County, Alabama.
    Filed expert rebuttal report July 8, 2010. Deposition September 1, 2010. Filed supplemental expert
    rebuttal report August 22, 2011.

•   Testifying expert in Moody’s Corporation Securities Litigation. Case No. 1:07-CV-8375-GBD),
    United States District Court for the Southern District of New York. Filed expert rebuttal report
    August 23, 2010. Deposition October 7, 2010. Filed rebuttal reply report November 5, 2010. Filed
    expert report May 25, 2012.

•   Testifying expert in Minneapolis Firefighters’ Relief Association v. Medtronic, Inc., et al. Civil
    No. 08-6324 (PAM/AJB), United States District Court, District of Minnesota. Filed expert report
    January 14, 2011.

•   Testifying expert in Schering-Plough Corporation/ENHANCE Securities Litigation Case No.2:08-
    cv-00397 (DMC) (JAD), United States District Court, District of New Jersey. Filed declaration
    February 7, 2011. Filed expert report September 15, 2011. Filed expert rebuttal report October 28,
    2011. Filed declaration January 30, 2012. Deposition November 15, 2011 and November 29, 2011.

•   Testifying expert in Fannie Mae 2008 Securities Litigation, Master File No. 08 Civ. 7831 (PAC),
    United States District Court for the Southern District of New York. Filed expert report July 18,
    2011.

•   Expert declaration in Grady Scott Weston et. al v. RCS Capital Corporation, et. al, Civil Action
    No. 1:14-CV-10136-GBD, United States District Court for the Southern District of New York.
    Filed declaration re: aggregate damages August 11, 2017.

•   Testifying expert in Bank of America Corp. Securities, Derivative, and Employee Retirement
    Income Security Act (ERISA) Litigation, Master File No. 09 MDL 2058 (PKC), United States
    District Court for the Southern District of New York. Filed expert report August 29, 2011. Filed
    expert rebuttal report September 26, 2011. Filed expert report March 16, 2012. Filed expert rebuttal
    report April 9, 2012. Filed expert rebuttal report April 29, 2012. Deposition October 14, 2011 and
    May 24, 2012.

•   Testifying expert in Toyota Motor Corporation Securities Litigation, Case No. 10-922 DSF
    (AJWx), United States District Court, Central District of California. Filed expert report February
Case 8:19-cv-00421-WFJ-CPT Document 71-1 Filed 05/21/20 Page 78 of 87 PageID 991
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    17, 2012. Deposition March 28, 2012. Filed expert rebuttal report August 2, 2012. Filed declaration
    re: Plan of Allocation January 28, 2013.

•   Testifying expert in The West Virginia Investment Management Board and the West Virginia
    Consolidated Public Retirement Board v. The Variable Annuity Life Insurance Company, Civil
    No. 09-C-2104, Circuit Court of Kanawha County, West Virginia. Filed expert report June 1, 2012.
    Depositions June 19, 2013 and December 11, 2015.

•   Testifying expert in Aracruz Celulose S.A. Securities Litigation, Case No. 08-23317-CIV-
    LENARD, United States District Court for the Southern District of Florida. Filed expert report July
    20, 2012. Deposition September 14, 2012. Filed expert rebuttal report October 29, 2012. Filed
    declaration re: Plan of Allocation May 20, 2013.

•   Testifying expert in In Re Computer Sciences Corporation Securities Litigation, CIV. A. No. 1:11-
    cv-610-TSE-IDD, United States District Court for the Eastern District of Virginia, Alexandria
    Division. Filed expert report November 9, 2012. Filed supplemental report February 18, 2013.
    Filed expert rebuttal report March 25, 2013. Deposition March 27, 2013. Filed declaration re: Plan
    of Allocation August 7, 2013.

•   Testifying expert in In Re Weatherford International Securities Litigation, Case 1:11-cv-01646-
    LAK, United States District Court for the Southern District of New York. Filed declaration July 1,
    2011. Filed expert report April 1, 2013. Deposition April 26, 2013.

•   Testifying expert in In Re: Regions Morgan Keegan Closed-End Fund Litigation, Case 2:07-cv-
    02830-SHM-dkv, United States District Court for the Western District of Tennessee, Western
    Division. Court testimony April 12, 2013.

•   Testifying expert in City of Roseville Employees’ Retirement System and Southeastern
    Pennsylvania Transportation Authority, derivatively on behalf of Oracle Corporation, Plaintiff, v.
    Lawrence J. Ellison, Jeffrey S. Berg, H. Raymond Bingham, Michael J. Boskin, Safra A. Catz,
    Bruce R. Chizen, George H. Conrades, Hector Garcia-Molina, Donald L. Lucas, and Naomi O.
    Seligman, Defendants, and Oracle Corporation, Nominal Defendant, C.A. No. 6900-CS, Court of
    Chancery of the State of Delaware. Filed expert report May 13, 2013. Filed expert rebuttal report
    June 21, 2013. Deposition July 17, 2013.

•   Testifying expert in In Re BP plc Securities Litigation, No. 4:10-md-02185, Honorable Keith P.
    Ellison, United States District Court for the Southern District of Texas, Houston Division. Filed
    expert report June 14, 2013. Deposition July 25, 2013. Filed expert rebuttal report October 7, 2013.
    Filed declaration re: Plaintiff accounting losses November 17, 2013. Filed expert report January 6,
    2014. Deposition January 22, 2014. Filed expert rebuttal report March 12, 2014. Filed expert report
    March 17, 2014. Hearing testimony April 21, 2014. Deposition June 3, 2014. Filed declaration re:
    damages June 3, 2014.

•   Testifying expert in In Re Celestica Inc. Securities Litigation, Civil Action No. 07-CV-00312-
    GBD, United States District Court for the Southern District of New York. Filed expert report June
    14, 2013. Filed expert rebuttal report September 10, 2013. Deposition September 24, 2013.
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•   Testifying expert in In Re Dendreon Corporation Class Action Litigation, Master Docket No. C11-
    01291JLR, United States District Court for the Western District of Washington at Seattle. Filed
    declaration re: Plan of Allocation June 14, 2013.

•   Testifying expert in In Re Hill v. State Street Corporation, Master Docket No. 09-cv12146-GAO,
    United States District Court for the District of Massachusetts. Filed expert report October 28, 2013.

•   Testifying expert in In Re BNP Paribas Mortgage Corporation and BNP Paribas v. Bank of
    America, N.A., Master Docket No. 09-cv-9783-RWS, United States District Court for the Southern
    District of New York. Filed expert report November 25, 2013. Filed expert rebuttal report March
    17, 2014. Deposition June 26-27, 2014.

•   Testifying expert in Stan Better and YRC Investors Group v. YRC Worldwide Inc., William D.
    Zollars, Michael Smid, Timothy A. Wicks and Stephen L. Bruffet, Civil Action No. 11-2072-KHV,
    United States District Court for the District of Kansas. Filed declaration re: Plan of Allocation
    February 5, 2014. Filed expert report May 29, 2015. Filed expert report February 5, 2016. Filed
    expert rebuttal report March 27, 2016.

•   Testifying expert in The Archdiocese of Milwaukee Supporting Fund v. Halliburton Company, et
    al., Civil Action No. 3:02-CV-1152-M, United States District Court for the Northern District of
    Texas, Dallas Division. Filed expert rebuttal report October 30, 2014. Deposition November 11,
    2014. Hearing testimony December 1, 2014. Filed expert report March 11, 2016. Filed expert
    rebuttal report May 13, 2016. Deposition June 10, 2016. Hearing testimony re: Plan of Allocation
    July 31, 2017.

•   Testifying expert in In Re HP Securities Litigation, Master File No. 3:12-cv-05980-CRB, United
    States District Court for the Northern District of California, San Francisco Division. Filed expert
    report November 4, 2014. Deposition December 3, 2014. Filed expert rebuttal report January 26,
    2015.

•   Testifying expert in In Re MGM Mirage Securities, No. 2:09-cv-01558-GMN-VCF, United States
    District Court for the District of Nevada. Filed expert report November 12, 2014. Deposition
    January 6, 2015. Filed expert rebuttal report April 2, 2015.

•   Testifying expert in Adam S. Levy v. Thomas Gutierrez, Richard J. Gaynor, Raja Bal, J. Michal
    Conaway, Kathleen A. Cote, Ernest L. Godshalk, Matthew E. Massengill, Mary Petrovich, Robert
    E. Switz, Noel G. Watson, Thomas Wroe, Jr., Morgan Stanley & Co. LLC, Goldman, Sachs & Co.,
    and Canaccord Genuity Inc. and Apple Inc., No. 1:14-cv-00443-JL, United States District Court for
    the District of New Hampshire. Filed declaration January 7, 2015. Filed expert report September
    20, 2018. Deposition December 7, 2018. Filed expert rebuttal report February 22, 2019. Filed
    expert report June 7, 2019. Deposition September 6, 2019.

•   Testifying expert in In Re Nu Skin Enterprises, Inc., Securities Litigation, Master File No. 2:14-cv-
    00033-DB, United States District Court for the District of Utah, Central Division. Filed expert
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    report June 26, 2015. Deposition August 17, 2015.

•   Testifying expert in In Re Intuitive Surgical Securities Litigation, Master File No. 5:13-cv-01920-
    EJD, United States District Court for the Northern District of California. Filed expert report
    September 1, 2015. Filed expert rebuttal report November 16, 2015. Filed expert report November
    8, 2016. Filed expert report February 8, 2017. Deposition December 12, 2017.

•   Testifying expert in Babak Hatamian, et al., v. Advanced Micro Devices, Inc., et al., No. 4:14-cv-
    00226-YGR, United States District Court for the Northern District of California, San Francisco
    Division. Filed expert report September 4, 2015. Filed expert rebuttal report December 7, 2015.
    Filed expert report November 18, 2016. Filed expert rebuttal report January 17, 2017. Filed
    declaration March 6, 2017. Deposition March 7, 2017.

•   Testifying expert in In Re NII Holdings, Inc. Securities Litigation, No. 1:14-cv-00227-LMB-JFA,
    United States District Court for the Eastern District of Virginia, Alexandria Division. Filed expert
    report September 11, 2015. Deposition September 17, 2015. Filed expert rebuttal report October
    28, 2015. Filed expert report January 8, 2016.

•   Testifying expert in In Re Barrick Gold Securities Litigation, No. 1:13-cv-03851-SAS, United
    States District Court for the Southern District of New York. Filed expert report September 15,
    2015.

•   Expert declaration in In Re Tower Group International, Ltd. Securities Litigation, Master Docket
    No. 1:13-cv-5852-AT, United States District Court for the Southern District of New York. Filed
    declaration re: Plan of Allocation October 6, 2015.

•   Testifying expert in Beaver County Employees’ Retirement Fund et al. v. Tile Shop Holdings Inc.
    et al., No. 0:14-cv-00786-ADM-TNL, United States District Court for the District of Minnesota.
    Filed expert report December 1, 2015. Deposition March 15, 2016. Filed expert report July 1,
    2016. Deposition July 26, 2016. Filed expert reply report August 15, 2016.

•   Testifying expert in In Re Barclays Bank PLC Securities Litigation, Civil Action No. 1:09-cv-
    01989-PAC, United States District Court for the Southern District of New York. Filed expert report
    December 15, 2015. Filed expert rebuttal report February 2, 2016. Filed rebuttal reply expert report
    March 18, 2016. Deposition April 21, 2016.

•   Testifying expert in In Re Petrobras Securities Litigation, Civil Action No. 15-cv-03733-JSR, 15-
    cv-07615-JSR, 15-cv-6618-JSR, 15-cv-02192-JSR, United States District Court for the Southern
    District of New York. Filed expert report May 6, 2016. Filed expert report May 27, 2016. Filed
    expert reply report June 17, 2016. Deposition June 24, 2016.

•   Testifying expert in In Re Genworth Financial, Inc. Securities Litigation, Civ. A. No. 3:14-cv-
    00682-JAG, United States District Court for the Eastern District of Virginia, Richmond Division.
    Filed declaration re: Plan of Allocation June 2, 2016.
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•   Testifying expert in Zubair Patel, Individually and on Behalf of All Others Similarly Situated,
    Plaintiff, vs. L-3 Communications Holdings, Inc., et al., Defendants, No. 1:14-cv-06038-VEC,
    United States District Court for the Southern District of New York. Filed expert report June 30,
    2016. Deposition July 20, 2016. Filed expert rebuttal report August 26, 2016.

•   Testifying expert in Leonard Howard, Individually and on Behalf of All Others Similarly Situated,
    Plaintiff, vs. Liquidity Services, Inc., et al., Defendants, No. 1:14-cv-01183-BAH, United States
    District Court for the District of Columbia. Filed expert report September 2, 2016.

•   Testifying expert in James Quinn, Derivatively on Behalf of Nominal Defendant Apple REIT Ten,
    Inc., Plaintiff, v. Glade M. Knight, Justin Knight, Kent W. Colton, R. Garnett Hall, Jr., David J.
    Adams, Anthony F. Keating III, David Buckley, Kristian Gathright, David McKenney, Bryan
    Peery, and Apple Hospitality REIT, Inc., Defendants, and Apple REIT Ten, Inc., Nominal
    Defendant, No. 3:16-cv-610, United States District Court for the Eastern District of Virginia,
    Richmond Division. Filed expert report October 14, 2016. Deposition October 20, 2016.

•   Testifying expert in Dr. Joseph F. Kasper, et al., Plaintiff, v. AAC Holdings, Inc., et al.,
    Defendants, No. 3:15-cv-00923, United States District Court for the Middle District of Tennessee,
    Nashville Division. Filed expert report October 18, 2016. Deposition November 29, 2016. Filed
    expert rebuttal report February 10, 2017. Filed expert report December 4, 2017.

•   Testifying expert in KBC Asset Management NV, et al., Plaintiff, v. 3D Systems Corporation,
    Abraham N. Reichental, Damon J. Gregoire, and Ted Hull, Defendants, No. 15-cv-02393-MGL,
    United States District Court for the District of South Carolina, Rock Hill Division. Filed expert
    report October 31, 2016. Deposition January 5, 2017. Filed expert report April 21, 2017.

•   Testifying expert in Arkansas Teacher Retirement System, et al., Plaintiff, v. Virtus Investment
    Partners, Inc., Defendants, No. 15-cv-1249-WHP, United States District Court for the Southern
    District of New York. Filed expert report November 7, 2016. Filed expert rebuttal report February
    17, 2017. Deposition February 28, 2017. Filed expert report June 16, 2017. Filed expert rebuttal
    report July 26, 2017. Deposition August 9, 2017. Filed declaration re: prior reports December 4,
    2017.

•   Testifying expert in Laborers Pension Trust Fund – Detroit, Individually and on Behalf of All
    Others Similarly Situated, Plaintiffs, vs. Conn’s, Inc., et al., Defendants, No. 4:14-cv-00548 (KPE),
    United States District Court for the Southern District of Texas, Houston Division. Filed expert
    report November 10, 2016. Deposition December 9, 2016. Filed expert rebuttal report March 27,
    2017.

•   Testifying expert in Glen Hartsock, individually and on behalf of all others similarly situated
    Plaintiff, v. Spectrum Pharmaceuticals, Inc., and Rajesh C. Shrotriya, Defendants, No. 16-cv-
    02279-RFB-GWF and Olutayo Ayeni, individually and on behalf of all others similarly situated
    Plaintiff, v. Spectrum Pharmaceuticals, Inc., Rajesh C. Shrotriya, Kurt A. Gustafson, Joseph
    Turgeon, and Lee Allen, Defendants, No. 16-cv-02649-KJD-VCF, United States District Court for
    the District of Nevada. Filed declaration re: damages December 8, 2016.
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•   Testifying expert in In Re: ARIAD Pharmaceuticals, Inc. Securities Litigation, No. 1:13-cv-12544
    (WGY), United States District Court District of Massachusetts. Filed expert report March 6, 2017.

•   Testifying expert in Washtenaw County Employees’ Retirement System, individually and on
    behalf of all others similarly situated, Plaintiff, v. Walgreen Co., Gregory D. Wasson, and Wade
    Miquelon, Defendants, No. 15-cv-3187, United States District Court for the Northern District of
    Illinois. Filed expert report April 21, 2017. Deposition June 15, 2017. Filed expert rebuttal report
    September 15, 2017.

•   Testifying expert in Lou Baker, individually and on behalf of all others similarly situated, Plaintiff,
    v. SeaWorld Entertainment, Inc., James Atchison, James M. Heaney, Marc Swanson, and The
    Blackstone Group L.P., Defendants, No. 3:14-cv-02129-MMA-KSC, United States District Court
    for the Southern District of California. Filed expert report May 19, 2017. Deposition July 20, 2017.
    Filed expert rebuttal report September 14, 2017. Filed expert report January 22, 2019. Filed expert
    rebuttal report March 1, 2019. Deposition March 26, 2019.

•   Testifying expert in Benjamin Gross, individually and on behalf of all others similarly situated,
    Plaintiff, v. GFI Group, Inc., Colin Heffron, and Michael Gooch, Defendants, No. 3:14-cv-09438-
    WHP, United States District Court for the Southern District of New York. Filed expert report May
    30, 2017. Filed expert report August 7, 2017. Filed expert rebuttal report August 28, 2017.
    Deposition September 27, 2017.

•   Testifying expert in Murray Rubinstein, Jeffrey F. St. Clair, William McWade, Harjot Dev and
    Vikas Shah, individually and on behalf of all others similarly situated, Plaintiffs, v. Richard
    Gonzalez and Abbvie Inc., Defendants, No. 14-cv-9465, United States District Court for the
    Northern District of Illinois, Eastern Division. Filed expert report December 21, 2017. Deposition
    February 22, 2018. Filed supplemental expert report March 9, 2018. Filed expert reply report June
    14, 2018. Filed expert sur-sur reply report August 28, 2018.

•   Testifying expert in In Re: SanDisk LLC Securities Litigation, No. 3:15-cv-01455-VC, United
    States District Court for the Northern District of California, San Francisco Division. Filed expert
    report January 19, 2018. Filed expert report August 30, 2018. Filed expert report October 23, 2018.
    Deposition November 15, 2018.

•   Testifying expert in In Re: EZCORP, Inc. Securities Litigation, No. 1:15-cv-00608-SS, United
    States District Court for the Western District of Texas. Filed expert report January 31, 2018.
    Deposition March 6, 2018.

•   Testifying expert in Kevin Murphy, Individually and On Behalf of All Others Similarly Situated,
    Plaintiff, v. Precision Castparts Corp., Mark Donegan, and Shawn R. Hagel, Defendants, No. 3:16-
    cv-00521-SB, United States District Court for the District of Oregon, Portland Division. Filed
    expert report March 2, 2018. Filed expert report March 22, 2019. Filed expert reply report June 19,
    2019. Deposition July 19, 2019.

•   Testifying expert in In Re: Rent-A-Center, Inc. Securities Litigation, No. 4:16-cv-00978-ALM-
    CMC, United States District Court for the Eastern District of Texas, Sherman Division. Filed
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    expert report March 13, 2018. Filed rebuttal reply report July 12, 2018. Deposition August 21,
    2018.

•   Testifying expert in Public Employees’ Retirement Systems of Mississippi, Individually and On
    Behalf of All Others Similarly Situated, Plaintiff, v. TreeHouse Foods, Inc., Sam K. Reed, Dennis
    F. Riordan and Christopher D. Silva, Defendants, No. 1:16-cv-10632, United States District Court
    for the Northern District of Illinois. Filed expert report July 13, 2018. Deposition September 21,
    2018. Filed rebuttal reply report May 17, 2019.

•   Testifying expert in Gary Hefler, et al., Plaintiffs, v. Wells Fargo & Company, et al., Defendants,
    No. 1:16-cv-05479-JST, United States District Court for the Northern District of California. Filed
    declaration re: Plan of Allocation July 27, 2018.

•   Testifying expert in In re Banco Bradesco S.A. Securities Litigation, No. 1:16-cv-04155-GHW,
    United States District Court for the Southern District of New York. Filed expert report August 17,
    2018. Filed supplemental expert report October 11, 2018. Deposition October 12, 2018. Filed
    expert report December 14, 2018. Filed expert report March 8, 2019.

•   Testifying expert in Richard Di Donato, et al., Plaintiffs, v. Insys Therapeutics Incorporated, et al.
    Defendants, No. CV-16-00302-PHX-NVW, United States District Court for the District of
    Arizona. Filed expert report August 31, 2018. Deposition October 4, 2018. Filed expert report
    November 30, 2018. Filed expert report July 26, 2019. Filed expert report November 1, 2019.

•   Consulting expert in In Re: Wilmington Trust Securities Litigation, Master File No. 10-cv-00990-
    ER, United States District Court for the District of Delaware. Filed declaration re: Plan of
    Allocation and calculation of aggregate damages September 17, 2018.

•   Testifying expert in Atul Singh Deora, Individually and On Behalf of All Others Similarly Situated,
    Plaintiffs, v. Nanthealth, Inc., Patrick Soon-Shiong, Paul A. Holt, Michael S. Sitrick, Kirck K. Calhoun,
    Mark Bennett, Edward Miller, Michael Blaszyk, Jefferies Llc, First Analysis Securities Corporation,
    Canaccord Genuity Inc., And Fbr Capital Markets & CO., Defendants., No. 2:17-CV-01825-BRO-
    MRW, United States District Court for the Central District of California Western Division. Filed
    expert report September 20, 2018.

•   Testifying expert in City of Sunrise General Employees’ Retirement Plan, Plaintiff vs. FleetCor
    Technologies, Inc., et al., Defendants, No. 1:17-CV-02207-LMM, United States District Court for
    the Northern District of Georgia Atlanta Division. Filed expert report January 4, 2019. Deposition
    March 20, 2019. Filed expert report May 6, 2019.

•   Testifying expert in Guevoura Fund LTD., On Behalf of Itself and All Others Similarly Situated,
    Plaintiffs, v. Robert F.X. Sillerman, D. Geoffrey Armstrong, John Miller, Michael John Meyer, and
    SFX Entertainment, Inc., Defendants, Case No. 1:15-cv-07192-CM, Case No. 1:18-cv-09784-CM,
    United States District Court for the Southern District of New York. Filed expert report January 18,
    2019.
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•   Testifying expert in Leon D. Milbeck On Behalf of Himself and All Others Similarly Situated, v.
    TrueCar, Inc, et al., Defendants, No. 2:18-cv-02612-SVW, United States District Court for the
    Central District of California. Filed expert report March 8, 2019. Deposition April 8, 2019.

•   Testifying expert in Lewis Cosby, Kenneth R. Martin, as Beneficiary of the Kenneth Ray Martin
    Roth IRA, and Martin Weakly On Behalf of Themselves and All Others Similarly Situated, vs.
    KPMG, LLP, Case No. 3:16-cv-00121, United States District Court for the Eastern District of
    Tennessee, Knoxville Division. Filed expert report March 15, 2019. Deposition April 12, 2019.
    Filed supplemental expert report April 19, 2019. Deposition April 25, 2019. Filed rebuttal reply
    report June 14, 2019.

•   Testifying expert in Shawn Sanawaz, Individually and On Behalf of All Other Similarly Situated,
    v. Intellipharmaceutics International Inc., Isa Odidi, and Domenic Della Penna, Defendants, No.
    1:17-cv-05761-JPO, United States District Court for the Southern District of New York. Filed
    expert report May 06, 2019.

•   Testifying expert in Kevin L. Dougherty, Individually and on Behalf of All Others Similarly
    Situated, v. Esperion Therapeutics, Inc., et al., Defendants, No. 2:16-cv-10089-AJT-RSW, United
    States District Court for the Eastern Michigan of Michigan. Filed expert report June 6, 2019.
    Deposition July 26, 2019. Filed rebuttal reply report October 7, 2019.

•   Testifying expert in West Virginia Investment Management Board, Stiching Blue Sky Global
    Equity Active Low Volatility Fund, and Stitching Blue Sky Active Large Cap Equity USA Fund
    vs. SCANA Corporation., et al., Civ. A. No. 3:17-cv-2616-MBS, United States District Court for
    the District of South Carolina. Filed expert report June 28, 2019. Deposition August 16, 2019.

•   Testifying expert in Eric Weiner, Individually and on Behalf of All Others Similarly Situated, vs.
    Tivity Health, Inc., Donato Tramuto, Glenn Hargreaves and, Adam Holland, Defendants, Case No.:
    3:17-cv-01469 United States District Court for the Middle District of Tennessee. Filed expert
    report July 1, 2019. Deposition September 4, 2019. Filed rebuttal reply report December 20, 2019.

•   Testifying expert in In Re Dr. Reddy’s Laboratories Limited Securities Litigation, No. 3:17-cv-
    06436-PGS-DEA, United States District Court for the District of New Jersey. Filed expert report
    July 19, 2019. Deposition September 10, 2019.

•   Testifying expert in Peace Officers’ Annuity and Benefit Fund of Georgia, Individually and On
    Behalf of All Others Similarly Situated, and Jacksonville Police and Fire Pension Fund,
    Individually and On Behalf of All Others Similarly Situated vs. DaVita, Inc. et al., No. 1:17-cv-
    00304-WJM-NRN, United States District Court for the District of Colorado. Filed expert report
    January 31, 2020.

•   Testifying Expert in In Re Avon Securities Litigation, No. 19 Civ. 01420- CM, United States
    District Court for the Southern District of New York. Filed expert report February 13, 2020.
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•   Testifying Expert in In Re Allergan Generic Drug Pricing Securities Litigation, Civil Action No.
    2:16-9449 (KSH) (CLW), United States District Court for the District of New Jersey. Filed expert
    report March 20, 2020.

•   Expert declaration in Martin Cohen, Individually and On Behalf of All Others Similarly Situated,
    v. Luckin Coffee Inc., Jenny Zhiya Qian, and Reinout Hendrik Schakel, Case no. 1:20-cv-01293-
    LJL, United States District Court for the Southern District of New York. Filed declaration May 13,
    2020.

•   Testifying Expert in In RE Navient Corporation Securities Litigation, No. 1:17-cv-08373-RBK-
    AMD, United States District Court of New Jersey. Filed expert report May 15, 2020.

•   Testifying Expert in Yellowdog Partners, LP, Individually and on Behalf of All Others Similarly
    Situated, vs. CURO Group Holdings Corp., et al., Civil Action No. 2:18-cv-02662-JWL-KGG,
    United States District Court for the District of Kansas, Kansas City. Filed expert report May 18,
    2020.

Experience in Labor Economics and Discrimination-Related Cases:

•   Expert consultant for Cargill in class action race discrimination matter in which class certification
    was defeated.

•   Expert consultant for 3M in class action age discrimination matter.

•   Expert consultant for Wal-Mart in class action race discrimination matter.

•   Expert consultant on various other significant confidential labor economics matters in which there
    were class action allegations related to race, age and gender.

•   Expert consultant for large insurance company related to litigation and potential regulation
    resulting from the use of credit scores in the insurance underwriting process.

Testimony:

•   Testifying expert in Shirley Cohens v. William Henderson, Postmaster General, C.A 1:00CV-1834
    (TFH) United States Postal Service. United States District Court for the District of Columbia.–
    Filed report re: lost wages and benefits.

•   Testifying expert in Richard Akins v. NCR Corporation. Before the American Arbitration
    Association – Filed report re: lost wages.

•   Testifying expert in Maureen Moriarty v. Dyson, Inc., Case No. 09 CV 2777, United States District
    Court for the Northern District of Illinois, Eastern Division. Filed expert report October 12, 2011.
    Deposition November 10, 2011.
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•   Testifying expert in Vincent Torbio, et al. against Feldor Billiards Inc. D/B/A Fatcat Billiards, et
    al., Index No. 153384/14, Supreme Court of the State of New Your, County of New York. Filed
    expert report May 29, 2018. Deposition July 24, 2018.

Selected Experience in Antitrust, General Damages, and Other Matters:

•   Expert consultant in high-profile antitrust matters in the computer and credit card industries.

•   Expert consultant for plaintiffs in re: Brand Name Drugs Litigation. Responsible for managing,
    maintaining and analyzing data totaling over one billion records in one of the largest antitrust cases
    ever filed in the Federal Courts.

•   Served as neutral expert for mediator (Judge Daniel Weinstein) in allocating a settlement in an
    antitrust matter.

•   Expert consultant in Seminole County and Martin County absentee ballot litigation during disputed
    presidential election of 2000.

•   Expert consultant for sub-prime lending institution to determine effect of alternative loan
    amortization and late fee policies on over 20,000 customers of a sub-prime lending institution.
    Case settled favorably at trial immediately after the testifying expert presented an analysis I
    developed showing fundamental flaws in opposing experts calculations.


TEACHING EXPERIENCE:

       KNOX COLLEGE, Teaching Assistant - Statistics, (1995)
       KNOX COLLEGE, Tutor in Mathematics, (1992 - 1993)


PUBLICATIONS:

       Coffman, Chad and Mary Gregson, “Railroad Construction and Land Value.” Journal of Real
          Estate and Finance, 16:2, pp. 191-204 (1998).

       Coffman, Chad, Tara O’Neil, and Brian Starr, Ed. Richard D. Kahlenberg, “An Empirical
          Analysis of the Impact of Legacy Preferences on Alumni Giving at Top Universities,”
          Affirmative Action for the Rich: Legacy Preferences in College Admissions; pp. 101-121
          (2010).


PROFESSIONAL AFFILIATIONS:

       Associate Member CFA Society of Chicago
       Associate Member CFA Institute
       Phi Beta Kappa
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AWARDS:

       1994 Ford Fellowship Recipient for Summer Research.
       1993 Arnold Prize for Best Research Proposal.
       1995 Knox College Economics Department Award.


PERSONAL ACTIVITIES:

•   Pro bono consulting for Cook County State’s Attorney’s Office.
•   Pro bono consulting for Cook County Health & Hospitals System – Developed method for hospital
    to assess real-time patient level costs to assist in improving care for Cook County residents and
    prepare for implementation of Affordable Care Act.
•   Pro bono consulting for Chicago Park District to analyze economic impact of park district assets
    and assist in developing strategic framework for decision-making.
